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                UNITED STATES DISTRICT COURT                     1                       I N D E X
            FOR THE CENTRAL DISTRICT OF ILLINOIS                                        Tuesday, 28 April, 2020 12:22:12 PM
                                                                 2
                                                                     WITNESS                  Clerk, U.S. District
                                                                                                             PAGE Court, ILCD
     AARON O'NEAL,            )                                  3     AARON O'NEAL,
                              )                                          Examination by Mr. Ahmad                8   -   47
                Plaintiff,    )                                  4       Examination by Mr. Ankney              47   -   123
                              )                                          Further Examination by Mr.   Ahmad    123   -   143
             -vs-             )No. 18-CV-4063-SEM-TSH            5       Further Examination by Mr.   Ankney   143   -   155
                              )                                          Further Examination by Mr.   Ahmad    155   -   159
     JOHN BALDWIN, DIRECTOR, )                                   6       Further Examination by Mr.   Ankney   159   -   164
     ILLINOIS DEPARTMENT OF   )DEPOSITION OF                             Certificate of Reporter               165   -   166
     CORRECTIONS, in his      )AARON O'NEAL                      7
     official and individual )
     capacity; MANUEL ROJAS, )                                   8
     in his official and      )                                      EXHIBITS
     individual capacity;     )                                  9     Deposition Group Exhibit A                        139
     STEPHANIE DORETHY, in her)
     official and individual )                                  10
     capacity; FREDDIE        )
     BRITTON, in his          )                                 11
     official and individual )
     capacity; ROBERT         )                                 12
     RODRIGUEZ, in his        )
     official and individual )                                  13
     capacity, JOE LAHOOD, in )
     his official and         )                                 14
     individual capacity JOHN )
     FROST, in his official   )                                 15
     and individual capacity; )
     STEVE GANS, in his       )                                 16
     official and individual )
     capacity, MELISSA        )                                 17
     PHOENIX, in her official )
     and individual capacity, )                                 18
                              )
                 Defendants. )                                  19
                                                                20
                                                                21
                    CIRCUIT WIDE REPORTING                      22
                         P.O. Box 643
                  Galesburg, Illinois 61402                     23
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                circuitwidereporting@gmail.com                  24


                                                        EXHIBIT 1
                                                          2                                                                    4
 1      THE DEPOSITION OF AARON O'NEAL, before Amy S.            1   (Witness sworn.)
 2   Powers, Illinois CSR 084-003053, RPR 038540, a              2                      AARON O'NEAL,
 3   Notary Public, on Thursday, the 21st day of                 3   having been first duly sworn, was examined and
 4   November 2019, commencing at the hour of 9:24               4   testified on his oath as follows.
 5   a.m., at Henry Hill Correctional Center, 600                5
 6   Linwood Road, in the City of Galesburg, County of           6               MR. O'NEAL: I want a copy of
 7   Knox, and State of Illinois.                                7         everything that takes place today of this
 8                                                               8         deposition. And I also would like to
 9         PRESENT:                                              9         mention that although you are deposing me
10             AARON O'NEAL                                     10         today, I've asked for interrogatories and
               Henry Hill Correctional Center
11             600 Linwood Road                                 11         production of documents in which neither
               Galesburg, Illinois 61401
12                 appearing Pro Se;                            12         firm out of Clayton Ankney and Perkins did
13             CLAYTON ANKNEY, ESQ.                             13         not answer. And I just filed that
               Illinois Attorney General's Office
14             500 South Second Street                          14         yesterday in the United States District
               Springfield, Illinois 62706
15             cankney@atg.state.il.us                          15         Court asking you to compel to the
                   on behalf of John Baldwin, Manuel
16                 Rojas, Stephanie Dorethy, Freddie            16         interrogatories and production of documents
                   Britton, John Frost, Steve Gans, and
17                 Melissa Phoenix;                             17         and a request for admissions, both firms,
18             SYED E. AHMAD, ESQ.                              18         that you did not answer on September 18,
               Heyl, Royster, Voelker & Allen
19             300 Hamilton Boulevard                           19         2019, September 20, 2019, and October 9 of
               Peoria, Illinois 61602
20             sahmad@heylroyster.com                           20         2019.
                   on behalf of Robert Rodriguez
21                 and Joe Lahood.                              21                   Those interrogatories and
22                                                              22        production of documents has not been
23                                                              23        answered by either firm -- by either firm.
24                                                              24              MR. AHMAD: Okay. Anything else you
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 1    want to add?                                          1        down, because I'm going to jot down the
 2           THE WITNESS: No, that's it.                    2        questions that's being answered.
 3           MR. AHMAD: All right. So I'm                   3              MR. AHMAD: That's fine. And I'll be
 4    going -- so the way a deposition would work           4        mindful of that.
 5    here is this is an opportunity for myself             5                  Also at the same time if there are
 6    and Mr. Ankney to ask you a series of                 6       any questions that you may or may not
 7    questions about your case, and everything             7       remember, you can let me know. If you need
 8    is being placed on the record.                        8       to change it down the road, let me know and
 9                Now, have you ever done a                 9       we can revisit that, especially if you
10   deposition before?                                    10       forget or whatever it may be.
11           THE WITNESS: No.                              11                  Does that all make sense?
12           MR. AHMAD: Okay. So I'll start with,          12              THE WITNESS: Yes.
13    first of all can you state your name for             13              MR. AHMAD: Are you feeling well
14    the record, spelling your last name.                 14        today, well enough to answer?
15         THE WITNESS: Aaron O'Neal. Last name            15              THE WITNESS: Yes.
16    O-N-E-A-L. That's apostrophe between the O           16             MR. AHMAD: Are you on any medications
17    and the N.                                           17        today?
18         MR. AHMAD: And you indicated this is            18             THE WITNESS: No.
19    your first deposition ever?                          19             MR. AHMAD: Do you feel like are there
20         THE WITNESS: Yes, sir.                          20        any mental issues that might be distressing
21         MR. AHMAD: So just some basics that I           21        you today?
22    would like to go over with you. As you can           22             THE WITNESS: No.
23    see, we have a court reporter today typing           23             MR. AHMAD: So you feel that you would
24    down what's being said. So one of the                24        be able to answer all the questions to the



                                                       6                                                            8
 1     grounds rules is make sure only one person           1        best of your ability?
 2     is talking at a time. So if I'm talking,             2              THE WITNESS: Yes, to the best of my
 3     let me finish, even though you may know the          3        ability.
 4     answer. And I will wait until you're done            4              MR. AHMAD: Okay. With that said, I
 5     before I ask you anything. Does that make            5        would like to begin.
 6     sense?                                               6
 7           THE WITNESS: Yes.                              7   EXAMINATION BY MR. AHMAD:
 8           MR. AHMAD: And on top of that, I               8   Q. You have brought suit against various
 9     would say, you know, I know we're having a           9       defendants. Can you just give us a brief
10     conversation, but sometimes I'll ask you a          10       background as to why you brought suit?
11     yes or no question and you may nod or shake         11   A. Well, me and the Catholics have been
12     your head.                                          12       deprived having a non-meat Lenten meal for
13                I may know what you're saying, but       13       14 1/2 years. This has been an ongoing
14   the court reporter cannot transcribe that,            14       process and procedure here at the Hill
15   so anytime you have to say yes, say yes,              15       Correctional facility.
16   anytime you have to say no, say no.                   16   Q. Can you tell us specifically why you were
17                Whatever you need to say, you            17       suing each of the individuals?
18   know, say it on the record so she can take            18   A. Because every defendant that's named in the
19   it down.                                              19       complaint bears some form of negligence in
20                Do you have any questions right          20       this proceeding.
21   now?                                                  21   Q. Okay. And who is the primary person that
22           THE WITNESS: Like I said, I'm not as          22       you feel is responsible here?
23     fast as she is, but every question that you         23   A. I would say the Catholic Church.
24     ask, I would like a little time to jot it           24   Q. Okay. And why is the Catholic Church
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 1        responsible?                                       1   Q.   Which is what year?
 2   A.   Because they did not advocate on our behalf        2   A.   Since 2005 here at Hill Correctional Center .
 3        when we have spoken to them every year that        3   Q.   And as of 2018 they've been providing you
 4        I've been here since 2005 leading up 'til          4        the forms in advance?
 5        now informing them of what's been going on .       5   A.   Never.
 6        And, you know, they always told us that            6   Q.   They still have not provided you the forms?
 7        they'll look into it, look into it, but            7   A.   Just 2018 was the first time ever that he
 8        every year that goes by, no meal.                  8        finally got them out to Catholic inmates.
 9   Q.   Did you ever sue the Catholic Church?              9   Q.   Okay.
10   A.   No, I've never sued anyone.                       10   A.   Prisoners, inmates, whatever.
11   Q.   So have you been part of any lawsuit other        11   Q.   And where would you normally get forms?
12        than your criminal cases?                         12   A.   Through Chaplain Rojas. Every other
13   A.   I've never sued anyone.                           13        religion, Jewish, Muslim, they get them on
14   Q.   Have you ever been sued?                          14        time, they get them in the mail. Catholics
15   A.   No.                                               15        have never gotten them until 2018.
16   Q.   The Complaint that you wrote initially, you       16   Q.   Now, just to kind of give me an idea on the
17        indicated that Mr. Manuel Rojas is                17        process and procedures, is there a place for
18        responsible for arranging and approving           18        you to access forms in general?
19        religious meals.                                  19   A.   What do you mean by "access forms"?
20   A.   Yes.                                              20   Q.   Like if there are any forms that you need
21   Q.   So what was his role in all of this?              21        for requesting things or sending out
22   A.   Well, it's 45 days before Lent you have to        22        grievances, where do you get them?
23        notify the chaplain if you want to partake        23   A.   He's got to send them to you. You can't
24        in the Lent meal.                                 24        send them in yourself, because see, that



                                                       10                                                        12
 1   Q. Okay.                                                1      document there has to be signed off on by
 2   A. So every year that, like I said again, I've          2      the chief administrator officer. So it's
 3      been here, I would contact Mr. Rojas in              3      got to go by procedure. I should have
 4      person, because, you know, chapel is every           4      brought that form with me. It's a form --
 5      Tuesday for the Catholics. And his office            5      it's in the -- it's in the Complaint as
 6      is adjoining right -- it's connected to the          6      well, the request form that you send out for
 7      chapel.                                              7      for the accommodation to be provided the
 8                 So I would go in there, speak to          8      meal. And it's a number on the bottom of
 9      him or, you know, catch him when I can and           9      it. It has to be on that form. And the
10      tell him, "Well, you know, the Lent is              10      only way you can get that form is through
11      coming up; are you going to send up the             11      the chaplain, Rojas. That's it right there.
12      forms so the Catholics can fill them out and        12      At the bottom is a number. Should be the
13      give them back to you so we can get our             13      right-hand corner. Yeah, down here at the
14      meal?"                                              14      bottom.
15                 And he would always say, "Well,          15   Q. And the form you're referring to is DOC0388 ?
16      you know, it's being looked into," and this         16   A. Yes. That's the form that's got an issue
17      and that, but never no -- I'm trying to             17      throughout the institution in order for you
18      think. The request -- the request document          18      to sign and return back to the chaplain.
19      was never sent out until what, 2018.                19      And then once he sends it in, then the chief
20   Q. Okay. And when did this first start                 20      administrator officer has to sign off on it
21      occurring for you where you wanted -- where         21      whether it's going to be approved or denied.
22      you wanted the form, but the form was not           22   Q. And who is the person that is in charge of
23      given to you?                                       23      sending that form to you?
24   A. Since I've been incarcerated.                       24   A. Chaplain Rojas.
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 1   Q.   And what did you say Chaplain Rojas's role         1        knew of since Rojas retired. So that had --
 2        was?                                               2        I sent the form, that one, to the warden,
 3   A.   He's the head chaplain -- he was the head          3        Warden Williams.
 4        chaplain of Henry Hill Correctional Center         4   Q.   Warden Williams?
 5        since I've been here, but he's since               5   A.   Yeah.
 6        retired.                                           6   Q.   Then Williams responded and said just ask
 7   Q.   When did he retire?                                7        the chaplain?
 8   A.   If I'm not mistaken, he retired sometime           8   A.   No. He forwarded it to whoever chaplain was
 9        this year or late last year. I just know           9        at this time.
10        that he stopped showing up and then the word      10   Q.   This year?
11        got around that he retired, so I don't know       11   A.   Yeah. And they send it back with no name
12        exactly what date he actually retired.            12        stating "Chaplain" at the bottom, that it's
13   Q.   Now, so in 2018 he provided the form to you ?     13        been brought to their attention about the
14   A.   Yes.                                              14        Lent and that we will be provided the meal,
15   Q.   In 2019?                                          15        meaning the Catholic, but no forms ever
16   A.   2018.                                             16        issued.
17   Q.   What about 2019?                                  17   Q.   Were you provided the meal that was
18   A.   2019 he didn't provide the form.                  18        appropriate in 2019?
19   Q.   Who provided the form?                            19   A.   They gave it to the whole institution. Now,
20   A.   Nobody.                                           20        see, that's the difference. Say with the
21   Q.   You did not get the form in 2019 either?          21        Muslims, if you're doing Ramadan, you got to
22   A.   No.                                               22        fill out that same form, and if you Jewish,
23   Q.   Did you request a form in 2019?                   23        you got to fill that same form. And they
24   A.   There was no one -- oh, yes, I did. And           24        don't give it to the entire institution.



                                                     14                                                            16
 1      it's funny that you say that, because it             1        However, with no chaplain that we knew of at
 2      just dawned on me, I had to write the                2        the time, just someone saying "Chaplain," I
 3      warden, which is Warden Williams, and let            3        don't know if they were going through --
 4      him know that by Rojas being retired, who            4        whether there was one appointed, one was
 5      would we send our request asking that we be          5        going to be appointed or not, but they just
 6      provided a meal.                                     6        gave this meal to the entire institution.
 7                  So they got a new chaplain here.         7                   So we never got a form. You never
 8      No one knew her name at the time. So we get          8        had to sign anything. So that year they
 9      a paper back in the mail stating that                9        gave grilled cheese for lunch and pizza for
10      chaplain, but no name, Chaplain has been            10        dinner, or vice versa, the menus would flip,
11      brought to my attention that the Lent is            11        per Friday for 2019.
12      coming and you guys will be provided the            12   Q.   So in 2019 you were able to observe Lent?
13      meal, but no forms ever issued.                     13   A.   2019 the entire institution, but not as
14   Q. Okay. Did you request the new chaplain --           14        being recognized as a Catholic Lent meal.
15      the form?                                           15        That was a meal for the entire institution.
16   A. Well, I requested that in the original              16   Q.   But you were able to observe Lent in 2019,
17      grievance. I asked that he be taken out of          17        yes or no?
18        that stead and replaced with someone who was      18   A.   I wouldn't say Lent. But we were provided a
19      non-biased against Catholic prisoners.              19        meal of grilled cheese and pizza for 2019.
20   Q. I'm asking in 2019.                                 20   Q.   And the pizza was vegetarian?
21   A. No.                                                 21   A.   It was non-meat on that --
22   Q. In 2019 did you request the form from the           22   Q.   There was no meat on there?
23      chaplain?                                           23   A.   No.
24   A. I requested -- there was no chaplain that we        24   Q.   So did -- by eating the grilled cheese and
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 1        the pizza did you violate the Lent                 1        DOC0388?
 2        requirements?                                      2   A.   No, because that doesn't -- that doesn't
 3   A.   No.                                                3        consist of that, you know. You're just
 4   Q.   So just for the sake of informing me, what         4        asking to be fed a non-meat meal on Fridays.
 5        exactly do you believe are your requirements       5   Q.   For religious reasons?
 6        for Lent?                                          6   A.   Yes.
 7   A.   We're not supposed to have meat not just for       7   Q.   But you did not -- so, okay.
 8        Lent, but Catholics aren't supposed to             8                    When you did fill out DOC0388,
 9        consume meat prior to any Friday of the            9        that was specific to Lent?
10        year.                                             10   A.   Yes, that's what that form is pertaining to.
11   Q.   Have you -- now, at some point you did            11   Q.   And that is all that you asked for in
12        receive Form DOC0388; is that correct?            12        writing?
13   A.   That was in 2018 again.                           13   A.   Whatever that form pertains to.
14   Q.   Did you fill it out in 2018?                      14   Q.   Did you at any time fill out any form or any
15   A.   Yes, I did.                                       15        letter, anything in writing, requesting that
16   Q.   And in that form -- do you have a copy of         16        you be given meatless Fridays every Friday?
17        that form?                                        17   A.   The 2018, that's the only form.
18   A.   It's in --                                        18   Q.   That's the only form you filled, but that
19   Q.   A filled-out form?                                19        was just for the Lent period?
20   A.   Yes.                                              20   A.   Yes.
21   Q.   And did you request meatless every Friday,        21   Q.   So the only requirement that you feel that
22        or just Friday during Lent period?                22        wasn't met for which you brought this
23   A.   No, it states on there what we're supposed        23        grievance is that you were not given
24        to have. It's a meatless meal throughout          24        meatless options on Fridays during Lent,



                                                       18                                                         20
 1        the whole Lent.                                    1        correct?
 2   Q.   Just Lent?                                         2   A.   Fridays in general. We keep -- this is
 3   A.   Yeah.                                              3        being redundant because we keep going back
 4   Q.   So you didn't ask for the whole -- every           4        and forth. It's being redundant. It's
 5        Friday?                                            5        Friday in general.
 6   A.   We're not supposed to have meat period             6   Q.   I'm asking about the Lent period. Any
 7        again, once again.                                 7        other --
 8   Q.   That's not the question. My question is did        8   A.   I think you need to take time out to read
 9        you ask that you not --                            9        the form, because on the form, you know what
10   A.   No, we don't ask -- we don't ask -- all we        10        I'm saying, it doesn't require what you're
11        ask is that we be fed a Lent meal.                11        asking that I provide on the form.
12   Q.   Okay. So you --                                   12   Q.   Okay.
13   A.   However they honor it and give it to us,          13   A.   You know, you're asking me do I put that
14        that's another question. But you know. .          14        down on the form that I want to be fed all
15        .                                                 15        Fridays. That's not what that form pertains
16   Q.   Okay. So you only ask that you be provided        16        to.
17        meatless Fridays during Lent period, yes or       17   Q.   Let me rephrase my question. Was your
18        no?                                               18        request anything other than being provided
19   A.   I would ask -- you asked me a question . Can      19        food that was meatless?
20        I answer it?                                      20   A.   That's what the form consists of.
21   Q.   Sure.                                             21   Q.   I'm asking you did you have any other
22   A.   I'm requesting and have requested to not be       22        request, or was your request only for
23        fed meat period on Fridays.                       23        meatless Friday?
24   Q.   And did you do that in writing using              24   A.   For meatless Fridays.
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 1   Q.   Nothing else?                                     1        been here, meat. You're saying how many
 2   A.   For meatless Fridays.                             2        times have meat been served?
 3   Q.   No, I'm asking you questions --                   3   Q.   During Lent.
 4   A.   We're going in circles.                           4   A.   Yes, it's been served to Catholics, meat,
 5   Q.   Look, you're not answering --                     5        throughout the whole time I've been here
 6   A.   I am answering your question. I'm not             6        since that 2019 which I just spoke to you
 7        giving you the answer that I guess you're         7        that they gave it to the whole institution.
 8        expecting me to give you. But my answer           8   Q.   So 2019 they did not give you meat on
 9        will not change. You can re-form the              9        Fridays during Lent?
10        question as many times as you want to or         10   A.   No.
11        over and over again, but I'm going to keep       11   Q.   2018?
12        giving you the same answer. That's what I'm      12   A.   Meat.
13        saying, it's becoming redundant.                 13   Q.   You got meat?
14   Q.   Can I rephrase my question and then you can      14   A.   Yeah. All throughout from '18 back --
15        decide what you need to answer?                  15   Q.   Despite filling out the form, you got meat?
16                    My question is was there any other   16   A.   We never filled out the form. Only that one
17        religious obligation that you felt you had       17        time which came out in 2018.
18        that you requested that the facility did not     18   Q.   Yeah, so in 2018 did you get meat or no on
19        provide to you?                                  19        Fridays?
20   A.   Again, I said on the same answer to the --       20   A.   We got meat. We didn't even get the meal
21   Q.   Any other, any other?                            21        that we signed up for, which was that form,
22   A.   It's asked and answered.                         22        which we were supposed to been given a
23   Q.   I'm saying any other?                            23        non-meat diet, and we still wasn't given to
24   A.   Asked and answered.                              24        it because the warden, the chief officer at



                                                      22                                                            24
 1   Q.   So no other. Okay.                                1        the time, Defendant Dorethy, never signed
 2                    When was the first year you           2        off on it once Chaplain Rojas circulated the
 3        requested Form DOC038 --                          3        forms to the Catholic parishioners of Henry
 4   A.   Since I been incarcerated, 2005 leading up        4        Hill; she wouldn't sign off on it for
 5        even 'til, 2019.                                  5        whatever reason.
 6   Q.   And who did you request?                          6   Q.   So just to get better reflection of what
 7   A.   I asked -- that's been asked and answered.        7        you're saying, in 2019 the whole prison got
 8        I told you, Chaplain Rojas.                       8        meatless Fridays during Lent?
 9   Q.   Okay. Every year?                                 9   A.   I wouldn't say a meatless Friday. That was
10   A.   Yes. Except 2019 , because he was not here       10        just the meal provided to the institution.
11        for that one.                                    11        You keep saying meatless Friday as though
12   Q.   When was the first year you were able to         12        like that was a Catholic meal.
13        observe meatless Fridays during Lent?            13   Q.   No, I'm not saying Catholic. Did I say
14   A.   As of -- as consisting of the form, it has       14        Catholic? Did I say Catholic? No, hold on,
15        not been honored 'til this day. For the no       15        hold on. Did I say Catholic? I said
16        form -- see, that's what I'm saying. I           16        meatless Friday.
17        guess you haven't read this form. This form      17   A.   Okay. Well, that was given to the whole
18        consists of --                                   18        entire institution.
19   Q.   Again, that's not my question. My question       19   Q.   That's what I said, right? So the entire
20        is when was the last time that you were not      20        institution in 2019 --
21        able to -- or that you were only being           21   A.   Was fed pizza and grilled cheese.
22        provided meat on Fridays during the Lent         22   Q.   No meat on Fridays.
23        period?                                          23   A.   And breakfast was sausage, which is meat.
24   A.   It's been provided every Friday that I've        24   Q.   Sure.
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 1   A.   And so forth.                                    1   Q.   And then what about Freddie Britton?
 2   Q.   In 2018 it's your testimony that you filled      2   A.   That's the food supervisor who was denying
 3        out the form?                                    3        the meal to be issued to the Catholic
 4   A.   Yes, I did.                                      4        inmates.
 5   Q.   But the prison did not accommodate you?          5   Q.   Okay. Did you talk to Freddie?
 6   A.   They did not honor it, yes.                      6   A.   Yes, personally.
 7   Q.   Okay. But it's your belief that Chaplain         7   Q.   Do you know if the warden directed Freddie
 8        Rojas forwarded that form to the prison          8        to do anything?
 9        warden?                                          9   A.   I can't tell you if the warden, because I
10   A.   He did. Because the Catholics here filled       10        wouldn't have been present for a
11        that form out and returned it to him. But       11        conversation such as that.
12        once again, the warden, the chief               12   Q.   But Freddie would normally listen to what
13        administrative officer, would not sign off      13        the warden says?
14        on it.                                          14   A.   I can't tell you that.
15   Q.   Okay.                                           15   Q.   You don't know. Okay.
16   A.   So we were not provided 2018 the meatless       16                     What about John Frost, what's his
17        meal that we signed up for.                     17        role?
18   Q.   What did they give you as food on Fridays       18   A.   He was a counselor during the time that I
19        during Lent in 2018?                            19        filed this grievance, and he was promoted to
20   A.   It varies, you know.                            20        going to be the grievance officer after
21   Q.   Okay.                                           21        Mr. Gans that was once the grievance officer
22   A.   You would have to pull the list of the          22        retired, and now Mr. Frost is retired. And
23        Dietary because it's in there what was          23        I don't know who our grievance officer is
24        given, which you would have probably            24        now.



                                                     26                                                           28
 1      spaghetti with meat or so forth or whatever.       1   Q.   Okay. So what does he do, John Frost or
 2      I can't tell you off the top of my head            2        Steve Gans?
 3      exactly every Friday of 2018 exactly what          3   A.   Well, during the time that I filed this
 4      the meal was, but it wasn't consisted of a         4        grievance, when you file a grievance, you
 5      non-meat religious meal for Catholics in           5        send it to your counselor and he looks into
 6      that year dating back to 2005.                     6        your grievance to see if he can resolve the
 7   Q. So tell me what was the role of Stephanie          7        problem.
 8      Dorethy here?                                      8   Q.   Okay. So he's one of the grievance
 9   A. She's the chief administrator, you know.           9        officers?
10      She signs off as well as the request forms        10   A.   Yes, he's a counselor.
11      and as far as anything dealing with the           11   Q.   Counselor.
12      religions. But now it's been told to me           12   A.   You could say counselor/grievance officer.
13      and -- which Mr. Ankney I'm quite sure knows      13   Q.   Okay. And same thing with Steve Gans?
14      about that, because I got that in the mail,       14   A.   Steve Gans was officially the grievance
15      she stated that she relinquished those            15        officer. After your grievance leaves the
16      duties to her assistant warden, which we          16        counselor, and if he doesn't solve it, you
17      never knew anything about that.                   17        pass it on to the grievance officer, which
18   Q. Okay. So what you're saying is once you           18        was Gans at the time, Steven Gans.
19      filled out the forms, you were going to give      19   Q.   Who is Melissa Phoenix?
20      it to Rojas --                                    20   A.   She at the time was the Administrative
21   A. That's who you returned it to.                    21        Review Board officer at the time in
22   Q. -- and Rojas would then give it to                22        Springfield --
23      Stephanie?                                        23   Q.   Okay.
24   A. Yes.                                              24   A.   -- under the director.
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 1   Q.   And you took it all the way through the              1   A.   You had Deacon Rodriguez, Deacon O'Toole ,
 2        Administrative Review?                               2        and Deacon Pat, which I guess was Patrick,
 3   A.   Yes, I did.                                          3        but I don't know his last name.
 4   Q.   And she denied the claim?                            4   Q.   Okay. And then if you were to talk to them
 5   A.   Yes.                                                 5        about some issue, they would have to go to
 6   Q.   Okay. Makes sense.                                   6        Chaplain Rojas?
 7                    Now, in terms of the process, so         7   A.   Through Rojas to get it approved with the
 8        when you're asking for religious                     8        institution. But anything outside of the
 9        accommodation, especially dietary, which             9        institution, he had to take that up with
10        is -- which was the case here, normally you         10        either whoever is ahead of him, which would
11        would go to the chaplain, and you said you          11        be the bishop or cardinal or a priest or
12        went to Chaplain Rojas every year?                  12        someone of that nature.
13   A.   Yes.                                                13   Q.   Okay. So let's go to Robert Rodriguez. He
14   Q.   And was Chaplain Rojas in charge --                 14        was one of the deacons?
15   A.   Yes, that's it -- that's his duties.                15   A.   Yes. Still is.
16   Q.   Okay. He was the guy in charge of the               16   Q.   What about Joe Lahood?
17        Catholic --                                         17   A.   Joe Lahood is a deacon too. He's the prison
18   A.   He's in charge --                                   18        ministry deacon of the Peoria Archdiocese.
19   Q.   -- chaplains?                                       19   Q.   Does he come to the prison as well?
20   A.   He's the head chaplain of everything. If            20   A.   Well, it's funny that you mention that,
21        you got -- you're Muslim, Jewish, whatever,         21        because the whole time that I've been here,
22        any type of religious accommodation that you        22        14 1/2 years, and he's been the head of the
23        needed or wanted, you have to get it                23        prison Catholic ministry, no Catholic here
24        approved through him and speak to him               24        has ever met him, done any fellowship with



                                                         30                                                            32
 1        personally.                                          1        the Catholic parishioners of Henry Hill
 2   Q.   So he's the head chaplain period?                    2        Correctional Center for whatever reason.
 3   A.   He's the head chaplain, or was, of Henry             3   Q.   So you've never met Lahood?
 4        Hill.                                                4   A.   No, I've never met him.
 5   Q.   Or was. And is he Catholic?                          5   Q.   For all you know, he just lives in Peoria
 6   A.   No.                                                  6        and works out of the Peoria diocese?
 7   Q.   He was not?                                          7   A.   I just know of him through Deacon Rodriguez
 8   A.   No.                                                  8        and Chaplain Rojas.
 9   Q.   As far as you know, all requests for                 9   Q.   Okay. Do you know how he's personally
10        religious accommodations would go through           10        involved in all of this?
11        Chaplain Rojas?                                     11   A.   Well, by him being the head, as you say, of
12   A.   Yes.                                                12        the Catholic ministry, like issues such as
13   Q.   So if you made a request to a Catholic              13        this, when I would speak to Rodriguez or
14        chaplain, he would have to go to Chaplain           14        Mr. O'Toole, they would always say, well,
15        Rojas with the form?                                15        you know, I have to speak to Deacon
16   A.   That who did? The chaplain?                         16        O'Toole -- I mean, not O'Toole, Deacon
17   Q.   Yes, let's say -- were there multiple               17        Lahood because you got two, O'Toole and
18        chaplains?                                          18        Lahood. He said I would have to speak to
19   A.   Yes. You got like the ones you represent,           19        Lahood and see where is this gonna go.
20        you have -- at the time this grievance was          20                   It's like an imposter. We are
21        filed, you had three deacons coming in at           21        hearing of someone, but we've never actually
22        that time.                                          22        see him, but we know he exists because of
23   Q.   Okay. Okay. And who were the three                  23        through the Catholic Church.
24        deacons?                                            24   Q.   So again, I'm trying to picture this in my
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 1        mind. So correct me where I'm wrong here.         1        Rodriguez had become a deacon , because at
 2        So you would talk to let's say Deacon             2        the start of when I first came here, Deacon
 3        Rodriguez, and Deacon Rodriguez had               3        Rodriguez was not a deacon. He just used to
 4        essentially two channels or two bosses. One       4        come here and volunteer with O'Toole.
 5        would be Chaplain Rojas --                        5   Q.   Okay.
 6   A.   Rojas.                                            6   A.   Then there came a time that he got ordained ,
 7   Q.   -- for prison stuff like --                       7        and I think that was in 2012 I believe, from
 8   A.   Right. And then you'd have to get in              8        the paperwork that they filed. And I had
 9        contact with either Lahood or Bishop Jenky        9        asked him in 2016 about the religious meal,
10        at the Peoria Archdiocese.                       10        because I've never brought that to him
11   Q.   For the religious aspect?                        11        personally before up until that person --
12   A.   Yes.                                             12        that time. And he told me --
13   Q.   Not the -- necessarily the prison                13   Q.   Who is "he"? O'Toole?
14        administration and so on?                        14   A.   No.
15   A.   Prison administration you have to deal with      15   Q.   Rodriguez?
16        Chaplain Rojas or the warden, whoever is         16   A.   No, no, no, you're right, O'Toole told me
17        running the institution at the time.             17        that Robert Rodriguez is in charge.
18   Q.   So Lahood was strictly on the religious side     18                   And I'm like, "Whoa, Robert
19        directing and controlling what Rodriguez was     19        Rodriguez is in charge. I always was under
20        doing?                                           20        the --"
21   A.   Yes.                                             21   Q.   In charge of what?
22   Q.   But not on the prison side or administrative     22   A.   Of anything that's dealing with the
23        side?                                            23        Catholics here --
24   A.   I've never met him.                              24   Q.   At the prison?



                                                      34                                                          36
 1   Q. Okay. Has he ever communicated with you in          1   A.   -- at Henry Hill Correctional Center. So
 2      any way?                                            2        you've got three deacons, so you don't know
 3   A. Who?                                                3        who's who. All you know is this guy's a
 4   Q. Lahood.                                             4        deacon, this guy's a deacon, this guy's a
 5   A. Lahood? Never fellowship with any Catholic          5        deacon. Well, who's the head deacon here,
 6      prisoners on any aspect, whether in person          6        you see what I'm saying?
 7      or in writing.                                      7   Q.   Okay.
 8   Q. Now, let's talk about Deacon Rodriguez.             8   A.   So O'Toole told me that it was Robert
 9      When was the first time you reached out to          9        Rodriguez. But now I come to find out that
10      Deacon Rodriguez? And that's Robert                10        O'Toole never stopped being the head deacon
11      Rodriguez, correct?                                11        of Henry Hill Correctional Facility.
12   A. Yes.                                               12   Q.   Okay. So when did you first start talking
13   Q. Regarding the Lent meals.                          13        to Rodriguez?
14   A. Well, see, and the reason why I say this           14   A.   About the Catholic meals?
15      kind of gets tricky is because I was               15   Q.   In general. In general.
16      hoodwinked into something, and that's              16   A.   Well, like I said, I would have no reason to
17      brought into the grievance which I will            17        bring to Rodriguez anything about the forms
18      point out.                                         18        other than we're not being fed. I told him
19                  I was always under the impression      19        that since the whole time that he's been
20      that Deacon Joe O'Toole was the head deacon        20        coming with O'Toole, I told him that we're
21      down here, because as I told you before,           21        not being fed our meals.
22      there was three deacons, Deacon O'Toole,           22   Q.   Okay.
23      Deacon Rodriguez, and Deacon Pat. So the           23   A.   And he would say, you know, "I'll take this
24      one year after I had known that Deacon             24        up with Bishop Jenky," you know.
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 1   Q.   Okay.                                            1       being fed, because the people who's supposed
 2   A.   Why take it up with Bishop Jenky ? You need      2       to have our back, Deacon Rodriguez , Deacon
 3        to be taking that up with Chaplain Rojas.        3      O'Toole, and Deacon Pat, and Bishop Jenky
 4   Q.   And did you -- when did you first mention to     4      and Joe Lahood is not even going to bat with
 5        Rodriguez that he needs to take this issue       5      us. So it's understood why the Illinois
 6        up with Rojas?                                   6      Department of Corrections isn't following
 7   A.   Well, like I said, I talked to him since I       7      the administrative directive, because we
 8        been here, because Rodriguez -- Rodriguez        8      have no one speaking on our behalf.
 9        was here before I transferred into Hill          9   Q. Okay. So your primary concern -- and I'm
10        Correctional Center. So he was here before      10      trying to rephrase this, so correct me if
11        '05. But since I've been here, I've always      11      I'm saying something wrong. Your primary
12        talked to Rodriguez and O'Toole and Deacon      12      concern with Rodriguez and Lahood is that
13        Pat about not being fed the Lent meals.         13      they are part of the Catholic religious
14   Q.   Okay. So you talked to them about not being     14      leadership, and they're supposed to take
15        fed about the Lent meals, but did you ever      15      care of you, and they're not taking care of
16        tell Rodriguez that he needs to talk to         16      you by talking to the state or the --
17        Rojas?                                          17   A. They're not -- to me they're not doling what
18   A.   No, that wasn't until 2016.                     18      they supposed to be doing, and that's
19   Q.   2016?                                           19      advocating for us and seeing that we are fed
20   A.   Because he's a deacon for sure now that I       20      a Lent meal.
21        know of.                                        21   Q. Okay. So theirs is a failure to advocate --
22   Q.   Okay. And in 2016 you told Rodriguez that       22   A. And saying we're exempt. That's a big slap
23        he needs to talk to Rojas?                      23      in the face when they say we are exempt.
24   A.   Yes.                                            24      Only one that can say you're exempt from not



                                                     38                                                        40
 1   Q. Do you know if he ever did talk to Rojas?          1      receiving a meal, and that's God, and that's
 2   A. He said he would, but I can't say that he          2      in any document. But, you know, for someone
 3      did or he didn't.                                  3      to do that, they're infringing on your right
 4   Q. Okay. So you're not sure if he actually did        4      to practice in the freedom of your religion
 5      follow up on that?                                 5      how you choose to practice, you know.
 6   A. Yes, I'm not sure.                                 6   Q. Okay. So clearly there's a problem with the
 7   Q. Okay. So why exactly did you bring suit            7      way -- in your opinion, again I don't know,
 8      against Rodriguez?                                 8      in your opinion clearly there is a problem
 9   A. Because he know -- he knew of this and he's        9      with the way Rodriguez is providing
10      done nothing. And just like the smart             10      religious services here at the correctional
11      answers that he gives us in the                   11      center?
12      interrogatories and production of documents       12   A. I say this, and it's nothing personal,
13      is like, you know, why are we even                13      because I honestly do respect Deacon
14      Catholics, because they state they don't          14       Rodriguez and Deacon O'Toole and Deacon Pat
15      even advocate for us. It's like because           15       with the utmost respect. Service is great,
16      we're prisoners, we don't get fed? We're          16       good gentlemen. But outside of going to bat
17      not able to be redeemed for our sins, you         17       for your parishioners that you come out here
18      know what I'm saying? But you're bringing         18       for, because I know it's tax free, they come
19      communion in here, you know. You're giving        19       out here for a reason, you know what I'm
20      us the bread and you're giving us the blood       20       sayin'? It's not just to come. But at the
21      of Jesus, you know what I'm saying, but yet       21       same token you comin' into the institution,
22      you say that we're not entitled to a meal         22       you supposed to have our back, and you not
23      and you don't advocate for us?                    23       doing that, so that's the problem. But
24                  So I understood now why we're not     24       outside of that, they decent human beings I
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 1        believe, but you should advocate for your          1        Rojas, but he may or may not have done it,
 2        parishioners. That's like being an attorney        2        correct?
 3        but you're not working for your client.            3   A.   Yes, because I don't know if he followed up
 4   Q.   Right. Do you know if they're employed by          4        on it or not. He told us he would. But
 5        the state in any way?                              5        it's a good thing we're at this too now
 6   A.   No, they're not employed by the state.             6        because -- this just hit my -- this hit my
 7   Q.   Okay. And as far as you know they're               7        head. The year -- it was the year that
 8        volunteers?                                        8        Chaplain Rojas finally circulated the forms
 9   A.   Yeah.                                              9        for the religious meal that was 2018.
10   Q.   Now, they don't supervise anybody at the          10                     Now, Deacon Rodriguez has stood
11        prison, right, in terms of --                     11        before the choir and told the congregation
12   A.   Yes, they supervise.                              12        that night that we would not be getting a
13   Q.   Who do they supervise?                            13        non-meat meal. It's been told to him, you
14   A.   They supervise the inmates that's at              14        know what I'm saying, that this problem is
15        service. Because if there is like so much         15        just not happening here at Hill Correctional
16        talking -- I've seen Rodriguez and his wife       16        Center, but it was happening throughout the
17        take contraband off of inmates, which             17        state of Illinois, so there's no need to
18        that's -- they're not supposed to do. If          18        keep asking them about a Lent meal for it's
19        you see some contraband being passed, if          19        not gonna happen.
20        you're a deacon or something like that, it's      20                     Well, it's strange that he stated
21        not up to you to take that contraband off         21        that, because right when he stated that we
22        that person. You have the right by being          22        let it be known that Rojas after that send
23        the deacon to go and inform the officer           23        us the forms to fill out.
24        that's out in the hallway, "Hey, there's          24                     And I told him, "I thought when



                                                       42                                                            44
 1        some interruption in the service. There's          1        you told the congregation that they wasn't
 2        guys passing contraband that shouldn't be          2        gonna honor it, it wasn't being honored,
 3        here. Can you go get that off them?"               3        Rojas sent out the form."
 4                    But when you step in and take the      4                   He said, "Oh, Rojas send out the
 5        role and you're a security guard and you           5        form?"
 6        remove something off an inmate, you know           6                   I'm like, "Yeah."
 7        what I'm saying, yeah, you're doing more           7                   He said, "What did you guys do
 8        than what you're supposed to be doing.             8        with the forms?"
 9   Q.   Any other way that he supervises anybody?          9                   I said, "We filled them out and
10   A.   Other than taking contraband from people and      10        sent them back to Rojas."
11        maybe taking a person off the list for maybe      11   Q.   Okay. But, of course, he can suggest to
12        talking at service, disrupting the service        12        Rojas, but not direct him, correct?
13        or anything like that, that's the only thing      13   A.   I don't know how that works.
14        I see that, you know. . .                         14   Q.   Okay. Well, why didn't you sue O'Toole?
15   Q.   Does he supervise any employees here at the       15   A.   Well, I'm not saying that I'm not going to.
16        facility?                                         16   Q.   Okay.
17   A.   Nah, nah, they don't supervise.                   17   A.   I might amend him. I might to amend him.
18   Q.   Can he direct any employee to do anything?        18   Q.   But why didn't you so far?
19   A.   He can suggest. I can't say he's -- he's          19   A.   Because, and I said that in my paperwork, he
20        not -- he can -- he can only suggest, give a      20        hoodwinked me. Because when he told me that
21        suggestion, and it's up to them if they want      21        he's not the head deacon in charge, that
22        to follow through with it.                        22        Robert Rodriguez is, that put all my focus
23   Q.   So again, so your concern with Rodriguez is       23        on Robert Rodriguez, because I'm like,
24        that he could have suggested to Chaplain          24        "Since I been knowing, you've been the head
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 1        deacon here."                                    1  A. Well, depends on how he would ask -- you
 2                    And he's like, "Well, no, Deacon     2     said if he were to ask a question or
 3        Rodriguez is the head deacon in charge."         3     something like that, it would pertain to
 4   Q.   Okay.                                            4     what the question might be, you know.
 5   A.   And now I found out that he's still the head     5  Q. Did he ever order you to do something that
 6        deacon of Henry Hill Correctional Center,        6     was something that the prison should have
 7        meaning O'Toole. That's why I said I might       7     done?
 8        amend him.                                       8  A. Not offhand that I can think of at the
 9   Q.   Now, let me ask you what your impression is      9     moment.
10        about Rodriguez. Do you think he works for      10 Q. So anything he was saying to you was more
11        the state?                                      11     from the religious perspective?
12   A.   No, I know he don't work for the state.         12 A. Yes.
13   Q.   Okay. At any point did you feel that he was     13             MR. AHMAD: I don't think I have
14        acting on behalf of the state or under state    14       anything more.
15        power?                                          15             MR. ANKNEY: Mr. O'Neal, we met
16   A.   No, I just say he wasn't acting period as       16       earlier. I represent the defendants who
17        far as doing what he should have done for       17       are employed by the State of Illinois in
18        Catholic parishioners.                          18       this case.
19   Q.   Right. Or acting or not acting, do you feel     19
20        like he was doing it under state power?         20 EXAMINATION BY MR. ANKNEY:
21   A.   I don't know why he was doing what he was       21 Q. Earlier you said you were Catholic, correct?
22        doing.                                          22 A. Yes.
23   Q.   But the whole time he was just acting as a      23 Q. Is that Roman Catholicism or a different
24        deacon of the Catholic Church and not on        24     form of Catholicism?



                                                       46                                                          48
 1        behalf of the state, correct?                      1   A.   Roman.
 2   A.   Like I said, I don't know how he was acting.       2   Q.   All right. So while you have been
 3   Q.   No, no, but the thing is under your                3        incarcerated at Hill Correctional Center,
 4        impression it's not like he was a state            4        what have you done to practice being
 5        employee, it's not like he was doing --            5        Catholic?
 6   A.   I already answered that. I know he's not a         6   A.   I go to service every Tuesday.
 7        state employee, because he don't wear a            7   Q.   What do you mean be "service"?
 8        uniform.                                           8   A.   Catholic services.
 9   Q.   Right.                                             9   Q.   Like a mass?
10   A.   He's a deacon.                                    10   A.   No, you only have mass once a month. That's
11   Q.   Right.                                            11        when the priest comes in. Like Deacon
12   A.   But he does come in the institution and,          12        Rodriguez, he's not a priest, so he can't
13        like I say, he brings communion in here, you      13        hold -- there's certain rituals that he
14        know what I'm sayin', but he's not employed       14        cannot oversee. Only one that can oversee
15        by the Illinois Department of Corrections.        15        certain rituals such as that would be like a
16        If that's your question, that's my answer to      16        priest, and that only happens once a month.
17        your question.                                    17   Q.   So you have Catholic services on every
18   Q.   Okay. So if he were to order -- and again         18        Tuesday?
19        I'm just trying to get your impression, if        19   A.   Yes, some form of Catholic services, whether
20        he were to order you to do something, would       20        you have a Cursillo or Ultreya or a regular
21        you feel like he's ordering you to do that        21        Catholic service, and then you have Catholic
22        as a deacon or as somebody from the prison ?      22        mass.
23   A.   It could be looked at both ways.                  23   Q.   Cursillo. What was the second one?
24   Q.   Well, how did you look at it?                     24   A.   Ultreya, slash Ultreya, U-L-T-R-E-Y-A.
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 1   Q. And there was a third one was there?                1        or mind.
 2   A. You got Catholic mass, regular Catholic             2   Q.   All right. What other things have you done
 3      service. And the Catholic/Ultreya which is          3        while you were at Hill to practice being a
 4      the Catholics and Christians coming together        4        Catholic?
 5      on the third Tuesday to integrate with one          5   A.   Other than just going -- going -- going to
 6      another.                                            6        service and reading the good book, the word,
 7   Q. So have you gone to Catholic services of            7        that's it.
 8      some sort every Tuesday --                          8   Q.   You read the Bible?
 9   A. Yes.                                                9   A.   Yes.
10   Q. -- since you've been incarcerated?                 10   Q.   So you have access to a Bible?
11   A. Well, you know, there's times like, you            11   A.   Yes, I have a Bible.
12      know, where the institution will be on             12   Q.   Where is that, where is the Bible?
13      lockdown or somethin' and we can't make it         13   A.   In my room.
14      to service, but for the most part yes.             14   Q.   So you're allowed to have a Bible in your
15   Q. And so the Cursillo, is that on Tuesday as         15        room?
16      well?                                              16   A.   Yes. You can get one at the service. They
17   A. Yes, everything is on Tuesday, except now          17        provide it.
18      there is another service which we just did,        18   Q.   Is prayer a part of something you do to
19      and that was in I want to say -- it's been         19        practice being Catholic?
20      put off for so long. It's been for like two        20   A.   Yes, of course.
21      years they took it out of admission, so we         21   Q.   Have you done that while you've been at
22      just had it, but that's another Ultreya, and       22        Hill?
23      that takes place on a Friday and ends on a         23   A.   Yes.
24      Sunday.                                            24   Q.   Where do you do your prayers?



                                                      50                                                            52
 1   Q. What do you do at Ultreya?                          1   A. In my cell. And we pray at church as well.
 2   A. At Ultreya we fellowship with, like I said,         2   Q. And during each of the services?
 3      the Christians, and we go over certain              3   A. Yes.
 4      things as far as pertaining with the Bible          4   Q. Are there any other documents that you have
 5      as whatever is instructed at that time,             5      that help you practice your religion?
 6      whatever they bring in. You know, it varies         6   A. No. Because like I say, you know, when you
 7      from whoever is the head speaker that night.        7      say "practice your religion" it's on the
 8   Q. And what happens at Cursillo?                       8      person in general to -- how you choose to
 9   A. Again, people from the outside, volunteers          9      practice.
10      come in. They'll say what's going on in            10                 Like you and I both can be
11      their life. And they'll present you with           11      Christians and you could lay back and say,
12      questionnaires, usually three questions as         12      "Well, you know, I gotta work on Saturday
13      to like, you know, what have you done to pay       13      and Sundays because I have to feed my
14      it forward in Christ, what do you plan to          14      family."
15      do, you know what I'm saying.                      15                 And I can say, "Well, I'm
16                  And whatever the question is, you      16      Christian and I don't work on Saturday and
17      know, and you'll come up. You don't have           17      Sundays because that's my day of rest, so I
18      to, but, you know, the questions will be up        18      refuse to work on Saturday and Sundays."
19      there, and if you feel that you have               19                 So it's all a personal choice on
20      anything to add, you'll go up there and            20      how you choose to practice.
21      speak on the three questions. And you don't        21   Q. So are you allowed to work Saturdays and
22      have to to answer the three questions. You         22      Sundays?
23      can pick one out of the three, but you'll go       23   A. I don't work period because they refuse to
24      up there and speak whatever is on your heart       24      give me a job due to I filed the lawsuit
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 1        against the State of Illinois, the               1            last Friday?
 2        Department of Corrections.                       2  A.        Last Friday. I would have to look on the
 3   Q.   We actually also talked about some dietary       3            meal, because see now they give fish --
 4        restrictions earlier that you have as a          4  Q.        On Fridays?
 5        Catholic, correct?                               5  A.        -- on Fridays.
 6   A.   Yes.                                             6  Q.        On every Friday?
 7   Q.   And you, I believe you said, aren't allowed      7  A.        On every Fridays it's fish now.
 8        to have meat on Fridays?                         8  Q.        And how long have they been serving fish on
 9   A.   Right.                                           9            Fridays?
10   Q.   Have you ever eaten meat on Friday?             10 A.         It's probably been maybe I would say for the
11   A.   Yes, I've aten (sic) meat before. I'm not       11            last year. But see the thing is about that
12        going to lie. I've eaten meat before, yes,      12            is, this is the catch, they -- how Friday
13        because sometimes you don't have nothin ' to    13            you have it, you'll have Friday, you'll have
14        eat, you know, if you don't have a job, you     14            fish for lunch, but then at dinner they're
15        know, so you're forced to break your -- what    15            giving you Polish sausage or spaghetti with
16        your -- your tradition, what you believe in.    16            meat or something, you know what I'm saying?
17   Q.   Are you talking about prior to being            17                        But since this lawsuit's been
18        incarcerated, that was when you --              18            filed, for whatever reason this last year
19   A.   No, I'm talking about being incarcerated.       19            they try to get the fish in there either at
20        In the free world, you know, you practice       20            lunch or at dinner. But whichever one
21        however you want to. You can practice any       21            you're going to get it, you can rest assured
22        way you want to in jail too, but in here you    22            the other meal is going to consist of a meat
23        limited to so many things.                      23            meal in that serving of that meal that
24   Q.   All right. Can you tell me a little bit         24            night. Or at breakfast time.



                                                         54                                                            56
 1      about the process of how you go about                  1   Q.   So what types of meats do they serve you on
 2      getting your meals every day?                          2        Fridays?
 3   A. Well, you know, you go to the cafeteria.               3   A.   Like I said, Polish, hamburger, meatballs.
 4      But like I say, for instance, if -- like you           4        What else, some stuff they give you over
 5      have Muslims and you have Jewish. So                   5        there? Different like beef stew or things
 6      they're fed -- whatever their tradition is,            6        that just have meat in it in general.
 7      they're fed yearly. So the form they fill              7        Different type of dishes.
 8      out, it's already in the institution. So               8   Q.   Have you ever requested a vegan diet?
 9      when you go to the chow hall, there's a                9   A.   Yes.
10      form. You're standing in line and you'll              10   Q.   You have?
11      go, "Well, I need a kosher tray."                     11   A.   Yes.
12                   "Well, who are you?"                     12   Q.   And do you have a vegan diet?
13                   "I'm Mr. Johnson."                       13   A.   No.
14                   And then they'll look on this and        14   Q.   Why not?
15      then they'll have you sign stating that you           15   A.   Because they wouldn't approve it.
16      just been served your kosher tray.                    16   Q.   What about a vegetarian diet, have you
17   Q. Sure. I understand that. So when you go to            17        requested that?
18      chow are there different meals that you can           18   A.   No, I wouldn't eat a vegetarian diet. We're
19      pick from?                                            19        supposed to get a vegan diet.
20   A. No.                                                   20   Q.   Why vegan specifically?
21   Q. So you have to eat whatever is --                     21   A.   Well, because from -- out of the three you
22   A. You don't have to eat it, but you have to             22        have a kosher, a vegan, and a lactose. You
23      take a tray.                                          23        see what I'm saying?
24   Q. Okay. So, for example, what did you eat               24   Q.   Yes.
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 1   A. So from my understanding we're supposed to       1            lawsuit. So if I don't got no money coming
 2      get the vegan because we can't have the          2            in and my family is not sending me any
 3      kosher because that's a meat. And the            3            money, you know what I'm sayin', there's
 4      lactose is the one with the milk and all         4            certain times that you got to go over there
 5      that and the eggs and all that. So it's          5            and you got to pick around the stuff, you
 6      always been, to my understanding, and taught     6            know what I'm sayin'. And it's bad that you
 7      to me that we're supposed to get the vegan.      7            have to do that because, you know, picking
 8   Q. Who told you that?                               8            around it is like eating the meat. You
 9   A. That's what it's always been explained to me     9            might as well say you're eating the meat.
10      through the Catholic teaching.                  10 Q.         So the next question is for the time frame
11   Q. Do you have anybody specifically who told       11            concerning this lawsuit on what percentage
12      you that?                                       12            of Fridays were you able to have a meatless
13   A. Like I said, this has always been -- that's     13            Friday?
14      what I've always been taught.                   14 A.         Just up until this past year when they gave
15   Q. Okay. Where do you get your understanding       15            the pizza and the grilled cheese.
16      that you have to have meatless meals every      16 Q.         I'm sorry, my question is for the time of
17      Friday?                                         17            this lawsuit -- I'm sorry, I'm just trying
18   A. Well, you just socked me with that one. No,     18            to figure out how to phrase it -- what
19      seriously -- no, I think you're a good guy.     19            percentage of Fridays were you able to
20      Seriously, I was going to say, I just did an    20            personally not eat meat? Did that make
21      e-file yesterday, which I'm not sure, maybe     21            sense?
22      you all didn't -- maybe you didn't receive      22 A.         You say through the Fridays?
23      it, but you should have received it. And in     23 Q.         Yes.
24      there is Exhibit 3 in there, and it states      24 A.         Well, I won't eat the meat on the Fridays,



                                                       58                                                          60
 1        in there that Catholics are not supposed to        1        you know what I'm sayin'.
 2        have meat at any Friday throughout the year.       2   Q.   I understand. I was asking like so on
 3        So that's why you're saying why I did that,        3        90 percent of Fridays --
 4        that's our teaching. And this comes from           4   A.   More than that.
 5        the pope -- not the pope, but the bishop.          5   Q.   95 percent?
 6   Q.   All right.                                         6   A.   I would say that.
 7   A.   This come from Bishop Jenky . But I've known       7   Q.   So like about 95 percent of Fridays through
 8        that since coming up in Catholic -- Catholic       8        the course of this lawsuit you've been able
 9        school.                                            9        to not eat meat on Fridays?
10   Q.   How often do you eat meat on Fridays?             10   A.   Yes.
11   A.   I don't.                                          11   Q.   Okay. You've also said that you attended
12   Q.   You don't?                                        12        services on most Tuesdays, correct?
13   A.   Like I say, I have in the past. You're            13   A.   Correct.
14        saying like if I eat it. I don't eat meat         14   Q.   And like what percentage of Tuesdays would
15        on Friday. I abstain from it.                     15        you say over the course of this lawsuit you
16   Q.   But you did say you did eat it on occasion        16        were able to attend services?
17        in the past?                                      17   A.   I would say a good 90 percent.
18   A.   You're saying like a lot, you know. There's       18   Q.   90 percent? And what was the reason for the
19        times that you've had to break. Because I         19        10 percent that you missed?
20        don't want to lie to you. There's been            20   A.   Whether the institution is on lockdown or I
21        times where you've actually had nothing in        21        might be in segregation and you can't make
22        your box, because I'm not working. You            22        it over to service due to you're on lockdown
23        know, I can't get a job because they're           23        in segregation maybe for a fight or what
24        retaliating against me because of the             24        have you, you know.
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 1   Q.   For the times that you were not able to go       1         or cold cereal, correct?
 2        to a religious service did you suffer any        2  A.     No, I wouldn't eat anything on the tray if
 3        harm as a result?                                3         it had meat on it at the time.
 4   A.   Yes, because you can't go and fellowship         4  Q.     Are they not separated?
 5        with your fellow parishioners.                   5  A.     They're separated. But that's like if you
 6   Q.   So you lost out on fellowship. Is there          6         give a person who's Muslim and they don't
 7        anything else you suffered harm-wise?            7         eat pork and you put pork on that tray,
 8   A.   Harm-wise -- you're saying physical?             8         they're not gonna eat it. No matter if it's
 9   Q.   Sure.                                            9         separated or not, they're not gonna eat it.
10   A.   No, harm-wise wouldn't be physical just         10 Q.      On Fridays before they were serving the
11        because you wouldn't -- you didn't go to --     11         fish, on the days that you ate food, what
12   Q.   So no physical harm from missing a religious    12         percentage of the meals were you able to
13        service, correct?                               13         eat?
14   A.   No.                                             14 A.      Usually I would say -- you say before?
15   Q.   I am correct?                                   15 Q.      Yes, prior to the fish.
16   A.   You're correct as far as no physical harm       16 A.      Prior? Well, if it consist of meat on a
17        done to the body, you know what I'm saying,     17         tray, you wouldn't -- you know, you pick
18        because you couldn't go to services that        18         your tray up and you won't eat it period.
19        night.                                          19         Like I stated with the Muslims, because we
20   Q.   Have you suffered any physical harm as a        20         would look at the tray as being
21        result of not being provided meatless           21         contaminated.
22        Fridays?                                        22 Q.      Other than being hungry, what other harm did
23   A.   Yes, you know, because you're missing out on    23         you suffer from not getting your meatless
24        your main meal of the day.                      24         Fridays?



                                                      62                                                          64
 1   Q.   But what specifically is the harm that you        1   A.   You lose weight. Loss of weight.
 2        would have suffered?                              2   Q.   How much weight specifically did you lose?
 3   A.   You're not eating. You're being denied to         3   A.   Not a lot. But you gotta figure, you know,
 4        be fed. It's like going to bed hungry, you        4        you are losing -- you are losing a
 5        know, on an empty stomach.                        5        percentage of weight, you know.
 6   Q.   Prior to when they were serving fish as one       6   Q.   Do you know how much weight you lost over
 7        of the meals on Fridays were you able to eat      7        the course of the --
 8        the breakfast trays?                              8   A.   I can tell when I would go for my physical,
 9   A.   Depending on what was served at breakfast.        9        you could see it fluctuate from going up and
10   Q.   So like, for instance, what is something         10        down.
11        that would be provided --                        11   Q.   And what would you say the most amount of
12   A.   Like say some days on Fridays you might get      12        weight you lost was?
13        dry cereal or you might get hot cereal and       13   A.   Probably about like maybe 5 pounds or
14        no meat at all.                                  14        something.
15   Q.   Sure.                                            15   Q.   And how do you know specifically that was
16   A.   And then maybe the next Friday you might         16        because of the not having meatless Fridays?
17        have hot cereal or cold cereal with a            17   A.   I would say it played a great part in it.
18        sausage patty.                                   18   Q.   Do you have any medical evidence to support
19   Q.   Sure.                                            19        that?
20   A.   Or turkey bacon, you know, something like        20   A.   Yes, there's hospital records to show.
21        that.                                            21   Q.   Just the fact that you lost the weight is
22   Q.   Okay. So on those days that you would have       22        what you're saying?
23        hot or cold cereal and turkey bacon, for         23   A.   Yes, because like I say, you could tell the
24        instance, you would be able to eat the hot       24        difference in the fluctuation, because when
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 1        I would go over there, they would weigh you.    1        allegations unrelated to Mr. Rojas not
 2        Oh, it's going down, you know.                  2        providing meatless Fridays in your
 3   Q.   Has any doctor ever told you that your          3        Complaint, are you no longer proceeding with
 4        approximately 5 pounds of weight loss was a     4        those claims?
 5        result of --                                    5  A.    At this time I'm not sure. There's some
 6   A.   No, they don't tell you what it's about.        6        things that I could amend, you know, and I
 7        They'll just let you know that, you know,       7        would rather not speak on that right now.
 8        since they last seen you, you lost some         8  Q.    I believe in your Complaint you mentioned
 9        weight.                                         9        something about missing a Cursillo --
10   Q.   Sorry, and I didn't finish my question. So     10 A.     Yes.
11        just to make sure we get a clear answer, no    11 Q.     -- because of Chaplain Rojas?
12        doctor has ever told you that the weight       12 A.     Yes.
13        loss you suffered was a result of you not      13 Q.     Is that a claim you're proceeding on in this
14        getting meatless Fridays?                      14        case?
15   A.   No.                                            15 A.     Yes, because he retaliated against me, if
16   Q.   Okay.                                          16        that's what you're speaking of, retaliation.
17   A.   Because they don't know nothing about          17        Yes, because he took me out of service for
18        meatless Fridays.                              18        speaking out and speaking up for not being
19   Q.   Other than what we've just discussed is        19        fed.
20        there any other harm you suffered as a         20 Q.     All right. So let's talk a little bit about
21        result of not getting meatless Fridays?        21        the Cursillo, being removed from Cursillo as
22   A.   Not offhand.                                   22        you say. Could you just explain to me what
23   Q.   Okay. What specifically is your claim or       23        happened there?
24        your claims against Chaplain Rojas?            24 A.     Well, after I had spoke to him about not



                                                       66                                                       68
 1   A.   He didn't -- he didn't provide the meals           1     being fed and him feeding all the other
 2        that he was supposed to, let alone send the        2     religions, you know, and I felt as though,
 3        forms out so that the meal could be provided       3     you know, he was discriminating against the
 4        into 2018, which I've already --                   4     Catholics, you know, that's when he became
 5   Q.   So he didn't provide meatless Fridays for          5     upset. And this is how all this pretty much
 6        you?                                               6     took off is from that moment on when I was
 7   A.   Nor circulate the forms for us to fill out         7     ready to go to service the Tuesdays, I'm the
 8        as he was doing so forth for the other             8     only one left in the cell.
 9        religions.                                         9                 So I'm telling the guys that I
10   Q.   And did not provide the forms.                    10     fellowship with, "Well, can you go down
11                    Is there anything else you're         11     there and tell them to let me out, because
12        saying that Rojas did to you as it relates        12     they haven't hit my door yet."
13        to this lawsuit?                                  13                 So they go went down there and
14   A.   Well, other than getting verbal when I            14     say, "Mr. O'Neal say he's on the list, could
15        brought this to his attention and the             15     you let him out?"
16        wagging with the finger in the face and, you      16                 They said, "Well, we don't see
17        know, trying to, you know, cause a scene,         17     that he's on the list. Tell him that we
18        you know.                                         18     can't let him out."
19   Q.   Is there anything else he did to you as it        19                 I'm like, "Who's down there in
20        relates to this lawsuit?                          20     control," because all the officers know. I
21   A.   No.                                               21     been here for so long, they know I go to
22   Q.   Nothing else?                                     22     service.
23   A.   No.                                               23                 They said, "Well, you know, we
24   Q.   If you included something else, other             24     know that he goes to service, but we don't
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 1        know if he's been took out for a reason or           1        through it again. It's back that way
 2        whatnot. If his name is not on that list,            2        somewhere. Here we go, right there
 3        we cannot let him out."                              3        (indicating).
 4                   So I had to write to Chaplain             4   Q.   In the Complaint --
 5        Rojas and ask him why has my name                    5   A.   Is that I, I think?
 6        mysteriously disappeared off the Catholic            6   Q.   -- you attach as an exhibit Exhibit I,
 7        chapel's approved list. I haven't done               7        Plaintiff's Exhibit I?
 8        nothin' to be taken off the list.                    8   A.   Yes.
 9                  And that's when he wrote me a memo         9   Q.   So this is the memo he sent you about your
10        stating that, you know, whatever that crazy         10        removal from Cursillo?
11        excuse he used, innuendos as to why I was           11   A.   That's your answer right there, him taking
12        taken off the list.                                 12        me out of service.
13   Q.   Okay. So you're saying that he retaliated           13   Q.   So the first time he ever took you out of
14        against you for complaining about --                14        service was in early 2016 it looks like?
15   A.   Religious diet. Religious diet.                     15   A.   Yes.
16   Q.   And --                                              16   Q.   And how many Cursillos did you miss?
17   A.   He thought I was -- so I guess he felt as           17   A.   It took awhile before I got back in there.
18        though if I get rid of this guy, that will          18        It was -- it was some months. I couldn't --
19        silence everything, and it wasn't that easy.        19        I can't --
20   Q.   When did you complain to him about not being        20   Q.   There's only one Cursillo a month, correct?
21        on a religious diet?                                21   A.   Yes, but like I said, it was some months
22   A.   I complain to him every year throughout this        22        before I got back.
23        proceeding.                                         23   Q.   So do you know approximately how many
24   Q.   For how long?                                       24        months?



                                                         70                                                          72
 1   A.   Since 2005 up until he retired.                      1   A.   I would say at least six to eight months
 2   Q.   So you had been complaining to him about not         2        easy.
 3        getting a religious diet since 2005?                 3   Q.   And do you know if there was a Cursillo that
 4   A.   And being provided the form to receive a             4        was held each of those months?
 5        religious diet.                                      5   A.   Yes.
 6   Q.   And you're saying as a result of that --             6   Q.   Which months did you miss?
 7   A.   I was taken out of service.                          7   A.   All the ones from that point on until I was
 8   Q.   And when did he take you out of service?             8        placed back on the list. And that's
 9   A.   It's in the Complaint.                               9        another -- I would probably have to write to
10   Q.   Do you remember what year it is?                    10        find out exactly when my name was
11   A.   It's 2016 I believe. You can refer to the           11        resubmitted to go back on the list, because
12        grievance. It's in the grievance. As a              12        eventually he did put me back on. But I
13        matter of fact, you can go to the memo in           13        just can't tell you offhand what date that
14        there. I think that memo is --                      14        was that he decided to place me back on the
15   Q.   Is the grievance you're talking about               15        list.
16        (indicating)?                                       16   Q.   And what reason did he provide you for --
17   A.   Yeah, but I -- yeah, that's the grievance,          17   A.   It's right there.
18        but it's more with the memo it tells you            18   Q.   Okay. Well, let's -- here, you can look at
19        exactly when he took me out --                      19        it. So what reason did he provide you
20   Q.   You're talking about the Complaint you              20        for --
21        initially filed?                                    21   A.   Well, off the top of my head -- he told me
22   A.   Yes. It's in the memo that he sent me back          22        he took me out of service he said because he
23        confirming that he did, in fact, take me out        23        was having problems with the TA's slips and
24        of service. I just seen as you was going            24        you couldn't use them anymore and that he
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 1        had to give new people the opportunity that       1         accommodating Muslims to come to service.
 2        he gave -- once gave me when I first entered      2                     But this was a ploy to get me out
 3        the institution. So by me attending service       3         of service, because there was plenty of
 4        for 11 years, I've been going too long, so        4         room. Like I stated in there, that's why I
 5        now it's time to let some new people come         5         started asking questions for Freedom of
 6        in.                                               6         Information to be provided with all the
 7                    And I'm like that's unheard of        7         people that he give call passes to that
 8        because there's no such thing as taking a         8         don't even attend service.
 9        person out of service for going. Because if       9                     So there was never a problem with
10        that's the case, I wouldn't have attended        10         the space, because I knew of plenty of guys
11        during that time for 11 years if there was a     11         that was on my wing that were Catholic but
12        problem with me going to service. It didn't      12         would rather go to yard or rather just hang
13        become a problem until I started speaking        13         out on the wing rather than to go and
14        out about not being fed and not being            14         worship.
15        provided the slips to be fed that I was          15 Q.      Cursillo is a nondenominational service,
16        taken out.                                       16         correct? It's not Catholic specific?
17                    And then he came later after he      17 A.      Yes, it's Catholic and Christian.
18        gave that excuse as to the reason I was          18 Q.      And Christian. So other denominations --
19        taken out to give the new ones a chance and      19 A.      Well, Catholics are Christians.
20        a TA thing.                                      20 Q.      Sure. But I'm saying other denominations of
21                    Then he said after he spoke to the   21         Christianity can go to Cursillo?
22        administrators here, "Well, the only way you     22 A.      Christians can go and Catholics can go.
23        gonna get around that is if you say that it      23         Muslims can't go. Judaism can't attend.
24        was due to a security reason."                   24         Idinism or Odinism, they can't attend. It's



                                                       74                                                          76
 1                  "You never stated it was a               1        just the Catholic and Christian worship.
 2      security reason."                                    2   Q.   If a Muslim were interested in potentially
 3                  But later he back-pedals and he          3        becoming Catholic , would he be allowed to go
 4      tells me in one of the answers or something          4        to Cursillo?
 5      like that, he states in there that I was             5   A.   He would have to change his denomination
 6      taken out for security reasons.                      6        before attending that service, and there's a
 7                  And you stated right there in your       7        form for that in there as well. Which
 8      memo when it was fresh in your mind exactly          8        Chaplain Rojas did have Muslims at that
 9      why I was taken out, and it had nothing to           9        service, which I pointed out, which was
10      do with security reasons.                           10        taking up seats, if you wanted say that
11                  That didn't come until after he         11        there was a problem with seats being
12      had spoken to wardens and so forth.                 12        available. You've got Muslims right here
13   Q. If there were only a certain amount or a            13        sitting in a Catholic service that shouldn't
14      certain number of people who were allowed to        14        be here.
15      participate in Cursillo on a given Tuesday          15   Q.   So while you've been at Hill, non-Catholics
16      and more people than were allowed to                16        and non-Christians have been allowed to go
17      participate signed up, somebody would have          17        to Cursillo?
18      to be excluded, correct?                            18   A.   Yes. And Muslims.
19   A. No. See that's not how that works, because          19   Q.   Yes. People who were not Christian.
20      the Catholic service is not a service that          20   A.   Right. Have been allowed. And that was
21      has a lot of participants to begin with.            21        against the rules and regulations, but they
22                  The Muslim service outdoes the          22        have been allowed to attend.
23      Catholic service three times the amount and         23   Q.   Where does Cursillo come from?
24      they have never had a problem with                  24   A.   Well, it's been taught to us that it was two
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 1        guys that faced execution I think it was in          1        want to be Jew? They're searching.
 2        Texas, and they did a prayer in their cell,          2   Q.   Sure.
 3        and it was before they was put to death.             3   A.   So they'll give you that time to figure out,
 4        And for whatever reason the Catholics took           4        well, do I want to -- you know, do I want to
 5        that upon themselves to implement that in            5        go here, do I want to go there. There's
 6        the teachings of the Catholic faith, and             6        forms for that. But once you decided which
 7        that's something that they honored                   7        one you want to stick with, that's what you
 8        throughout the Catholic teachings. So it's           8        gotta stick with. And you might have to
 9        been -- it's been going on for quite some            9        stick with that for a year or so before you
10        time, and it's being honored, you know.             10        change it. There's a time procedure for
11        That's how that come about, two guys.               11        that as well. But you can't just show up at
12   Q.   And do you know if the Catholic Church would        12        any service, like you said --
13        prohibit non-Christians or non-Catholics            13   Q.   Sure. You have to sign up for the service,
14        from going to Cursillo?                             14        correct?
15   A.   If the Catholic Church?                             15   A.   But you have to be approved as well. It's
16   Q.   The whole Catholic hierarchy.                       16        just not you sign up and you go.
17   A.   Would prohibit --                                   17   Q.   Do you know if there's any rule at DOC
18   Q.   Well, you're saying it's a Catholic                 18        prohibiting offenders who are not Catholic
19        teaching --                                         19        or not Christian from going to Cursillo?
20   A.   Yes, right.                                         20   A.   Yes, it states that in your sign-up sheet
21   Q.   So under Catholic teachings is it prohibited        21        when you first get here.
22        for non-Catholics or non-Christians to go to        22   Q.   Where specifically?
23        Cursillo?                                           23   A.   It's Exhibit A. It's Exhibit A and -- right
24   A.   Yes, they're not supposed to attend.                24        there (indicating). It should be Exhibit A



                                                         78                                                            80
 1   Q. And what do you base that on?                          1      or B it tells you.
 2   A. Because it's a Catholic Christian service.             2   Q. It looks like Exhibit B is Offender Request
 3      It's just like whatever the Muslim teaching            3      for Religious Diet. Exhibit A is just
 4      is, if a Catholic or a Christian shows up              4      saying --
 5      there, first and foremost, it's going to be            5   A. Right, which one --
 6      like what is this guy doing here? Is he a              6   Q. But my question was are you aware of any
 7      Muslim? No. Well, he can't be here.                    7      rule throughout the Department of
 8   Q. Okay.                                                  8      Corrections or at Hill Correctional Center
 9   A. Because that's the teachings. I don't make             9      that says non-Catholics or non-Christians
10      the rules, you know.                                  10      are not allowed to go to Cursillo?
11   Q. Let's say I'm not Catholic and I one Sunday           11   A. Well, it states that in one of those
12      go to a Catholic church for mass. Are you             12      documents you can only attend one service,
13      telling me that they're going to say, no, he          13      you can only attend one service, that's it.
14      can't be here because he's not Catholic?              14      You can't -- you can't flip-flop and keep
15   A. Well, see, that's the difference. Because             15      going to all of them without being given
16      you're out in the free society, so anyone             16      some type of permission to -- like I just
17      can walk in. Just as like you have the                17      told you, there's some guys that's
18      right here, you might write -- there's a way          18      undecided. But if you've decided what
19      of doing that, but that's a procedure that            19      religion you're following, you cannot --
20      the Catholic -- not the Catholic, through             20      you're not allowed to go to another service.
21      Chaplain Rojas must figure that out.                  21      Those are the rules.
22        Because you have some people that don't know        22   Q. Okay. And as you said earlier, I believe,
23        what they want to be. Do I want to be               23      you didn't suffer any physical injury or
24        Catholic? Do I want to be Muslim? Do I              24      harm from not being able to attend Cursillo,
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 1      correct?                                           1            months you were never allowed to go to any
 2   A. That's the answer.                                 2            Catholic religious service?
 3   Q. Okay. Other than this memo that Mr. Rojas          3  A.        Only way I would be able to go to service,
 4      sent you about not being able to attend            4            if my name appeared on that list. If my
 5      Cursillo, did Mr. Rojas ever talk to you           5            name appeared on that list, I was at
 6      about why you weren't allowed to go to             6            service.
 7      Cursillo?                                          7  Q.        So do you know if you were actually able to
 8   A. Everything me and Rojas talked about that          8            attend other services during those six- to
 9      point on was always in documentation. So           9            eight-month period?
10      everything that he and I spoke about is a         10 A.         No.
11      part of the record, and it's in the               11 Q.         You don't know?
12      grievance, or it's in the lawsuit. If it's        12 A.         No, I know, but I wasn't -- he didn't allow
13      not in the grievance, it's in the (sic)           13            me in service. He took me out.
14      lawsuit, it didn't happen.                        14 Q.         So you're saying that for six to eight
15   Q. Okay. What did you do on those Tuesdays           15            months you did not go to any Catholic
16      when you missed Cursillo?                         16            religious services?
17   A. Well, I read my Bible. And I also would           17 A.         Not that I can recall.
18      talk to the brothers that was over at the         18 Q.         And that's in 2016?
19      service, ask what was -- you know, who was        19 A.         Yes. Not that I can recall up until I was
20      the head speaker that night , what happened,      20            placed back on the list.
21      or this and that.                                 21 Q.         During those six to eight months were you
22                  And they would always bring me the    22            able to do the other things that we
23      papers back of the three questions. I was         23            previously discussed that you do to practice
24      telling the gentleman earlier about the           24            your religion?



                                                         82                                                        84
 1        three questions that they would ask you.             1   A. Yes. You do that in the cell. It's like
 2        And I would, you know, go over that in my            2      reading your Daily Bread and so forth, you
 3        head as far as if I were at the service,             3      know, reading your Bible.
 4        what would have been my response to that and         4   Q. Do you know if you were in segregation at
 5        would I have answered all three of them, or          5      any point during those six to eight months?
 6        which one had any, you know -- what's the            6   A. I ain't been in seg. in I think like eight,
 7        word I'm looking for -- any connection to me         7      nine years, something like that.
 8        as far as if I would have spoke on it or             8   Q. Did Chaplain Rojas tell you why he placed
 9        not.                                                 9      you back on the list?
10   Q.   Okay. And Cursillo is once a month,                 10   A. No.
11        correct?                                            11   Q. Did you ask him?
12   A.   Yes.                                                12   A. I was surprised because I was back on the
13   Q.   So the other three Tuesdays also had                13      list because they came around one night and
14        services for each month?                            14      said, "O'Neal, are you going to chapel?"
15   A.   Yes.                                                15                  I said "I'm off the list."
16   Q.   So for each of the six to eight months that         16                  He said, "I got you on the list
17        you missed Cursillo were you allowed to             17      right here."
18        attend the other religious services?                18                  I said, "I can go?"
19   A.   No.                                                 19                  They're like, "Yeah, your name's
20   Q.   You were not allowed to go to the services          20      on the list."
21        either?                                             21                  "I'm going to chapel then."
22   A.   My name was not on the list. When he took           22                  I don't remember what day -- what
23        me off the list, he took me off the list.           23      date that was, but for some odd reason he
24   Q.   So you're saying for those six to eight             24      put me back on the list.
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 1   Q. So for the six to eight months that you said     1            period is always posted in the chapel,
 2      that you didn't go to services did you           2            because we all go in the chapel. You might
 3      attempt to go to services each and every         3            have to take down certain shrines for
 4      Tuesday?                                         4            certain services, but every service is held
 5   A. Yes, I always checked to see if my name was      5            in that building, in that room next to where
 6      on there.                                        6            Rojas's room was.
 7   Q. Well, you just told me just now that             7                        There's a bulletin board up there.
 8      somebody came around to your cell to say,        8            And on that bulletin board they'll say
 9      "Are you going to chapel?"                       9            Ramadan is coming, everyone that wants to
10                 You didn't actually go to check      10            join room Ramadan or come to Ramadan , sign
11      and see if you were on the list?                11            up, make sure, you know, that you inform the
12   A. Like right now -- that's a norm. Once in a      12            chaplain.
13      blue moon, it depends on who the officer is,    13                        But when it comes around to Lent,
14      how he choose to run his line. Like, you        14            it's not posted.
15      know, you might have an officer that come       15 Q.         Okay. But you agree that prior to 2019
16      on, he might want to pass mail as soon as he    16            there was no special diet tray for Lent,
17      get done counting.                              17            correct?
18                 You might have an officer the next   18 A.         No, because like I said, the meal that they
19      night that want to pass his mail out at         19            gave that year in 2019, that was for the
20      9:00 in the night. It all depends on            20            whole institution.
21      whoever is working. You know, if an officer     21 Q.         So you're saying there's never been a
22      wants to go around, find out who is going to    22            special diet tray for Lent, correct?
23      chapel that night so he can have all his        23 A.         There's never been anything for Lent since
24      stuff squared away, he does his ordeal          24            I've been here.



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 1      different than other officers.                       1   Q. What is specifically your -- I'm sorry,
 2                  Just so happened that night that         2      actually for Mr. Rojas is there anything
 3      officer came around and asked was I going to         3      else that you're claiming that he did to you
 4      chapel. And the reason I know that so well           4      as it relates to this lawsuit?
 5      is because the officer that told me -- you           5   A. Like I said, if it's not in the grievance
 6      over here was the officer that asked me              6      and it's not a part of the record, it didn't
 7      that, which was Gutierrez.                           7      happen.
 8   Q. Prior to 2019 do you know if Illinois                8   Q. Okay. But other than what we've discussed
 9      Department of Corrections at Hill                    9      today --
10      Correctional Center had a meatless option           10   A. It didn't happen if it's not in the
11      for Lent?                                           11      grievance or it's not in the lawsuit.
12   A. No, they didn't have anything for Lent.             12   Q. As you sit here today do you know of any
13   Q.   So then would there have been any purpose of      13      other claims that you have against
14        sending around the form for a meatless            14      Mr. Rojas?
15        Friday since that wasn't a meal that was          15   A. Just a retaliation claim and him not feeding
16        offered?                                          16      the Catholic parishioners or submitting the
17   A.   Like I said, that's -- that's the rules, you      17      slips to be fed, the request slips to be
18        know. They're supposed to send those forms        18      fed.
19        out. That's just like the Muslims. And see        19   Q. What specifically are your claims against
20        that's another thing that's good that you         20      Stephanie Dorethy?
21        asked that question, because that's a             21   A. Well, I need to know that because she just
22        question that I want -- I want to ask the         22      told me in the interrogatories that you sent
23        Catholic deacons why is it that all the           23      me that she relinquished those duties that
24        other religions right before their religious      24      I've always been under the impression was
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 1       hers, but, you know, she just in her             1                    Now she's saying, as I just
 2       interrogatories stated, "Well, I                 2        stated, she relinquished these duties to
 3       relinquished those duties to my assistant        3        someone. I don't know who she stated she
 4       warden."                                         4        relinquished these duties to.
 5                  Well, why didn't you tell the         5  Q.    Sure. Do you have any evidence she
 6       inmates of Henry Hill Correctional Center        6        specifically denied you a religious diet?
 7       that, because everyone that's in here is         7  A.    She denied every Catholic here when she
 8       under the belief that you are in charge of       8        refused to sign that document when Rojas
 9       this? We don't know that you relinquished        9        sent it to her in '18, because we filled
10       these duties to this. And not only that,        10        them out. He circulated them in '18. We
11       who is this person that you relinquished        11        filled them out and we gave them back to
12       these duties to? You're saying an               12        him. But she refused to sign it whether
13       assistant. You have two assistant wardens       13        approving or denying it.
14       here. You have an Assistant Warden Williams     14 Q.     Have you ever spoken to Stephanie Dorethy
15       and you have Assistant Warden McLaughlin.       15        about a need for a religious diet?
16                  So who are you stating that you      16 A.     No.
17       relinquished these duties to? You're just       17 Q.     Have you ever written to her about it?
18       saying you relinquished these duties to your    18 A.     No, just in my grievance when it went -- it
19       Assistant Warden of Programs. Who is your       19        went to her office to let it be known that
20       Assistant Warden of Programs?                   20        this was happening in your institution, that
21                  Since Dorethy been kicked out of     21        your chaplain is not seeing to it that the
22       here, we don't even know who the warden         22        Catholic parishioners be fed. The Dietary
23       here, let alone who's the Program warden.       23        Department is not seeing to it the Catholic
24       They say he's a warden. Whoever is filling      24        parishioners be fed. The counselors not



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 1      in is the warden, the warden, the acting          1        seeing to it that the Catholic parishioners
 2      warden, and I guess someone else is doing         2        being fed. Nor is the grievance officer
 3      Assistant Warden of Programs. So we don't         3        seeing to it that the Catholic parishioners
 4      know what the -- what is going on around          4        being fed. So that right there went to her
 5      here.                                             5        office.
 6   Q. Sure. My question was what is your claim          6   Q.   The grievance you're talking about?
 7      against Stephanie Dorethy?                        7   A.   Yes.
 8   A. That she oversaw this entire procedure and        8   Q.   Do you have any evidence that Stephanie
 9      done nothing to stop it.                          9        Dorethy was actually aware that --
10   Q. Do you have any evidence that she was            10   A.   Yes --
11      involved in issuing offenders religious          11   Q.   -- you weren't receiving a religious diet?
12      diets?                                           12   A.   Yes, because like I just stated, it went to
13   A. Say that again.                                  13        her office. Before it leaves this
14   Q. Do you have any evidence Stephanie Dorethy       14        institution, she has to sign off on that
15      was involved in issuing offenders religious      15        grievance.
16      diets or approving their religious diets?        16   Q.   Do you have any evidence that she actually
17   A. Yes, because on that form it states that         17        read any of your grievances about your
18      once Rojas issues the form out to the            18        religious diet?
19      Catholic parishioners and we are to sign it      19   A.   It's in the grievance forms when she signed
20      and return it back to him, then he turns it      20        off on what was it -- was it the 5th? I
21      over to the warden. And even states that on      21        think it's Q, yes, Exhibit Q. Go to Exhibit
22      the -- that you have here. And to my             22        Q. See Exhibit Q. I refer you to Exhibit
23      understanding she was the warden during the      23        Q.
24      time that I filed this lawsuit.                  24                     But that's when she signed off on
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 1        it, which let me knew (sic) she had full             1        accommodations in which we were supposed to
 2        knowledge of what was going on.                      2      be provided.
 3   Q.   Anyways, okay. Are your only claims against          3   Q. Do you know if you had -- do you have any
 4        her about your religious diet?                       4      evidence that he had any authority with
 5   A.   Are those my only claims?                            5      regards to deciding which inmates received
 6   Q.   Against Stephanie Dorethy.                           6      religious diets?
 7   A.   Yes, that she oversaw a program that                 7   A. Yes.
 8        conspired against the Catholic prisoners             8   Q. What specifically?
 9        that kept them from being provided their             9   A. Well, when I spoke to him, I told him what
10        Catholic Lent meal.                                 10      he was doing was against the law, for he was
11   Q.   Do you have any evidence that Stephanie             11      discriminating against members of the
12        Dorethy wanted to discriminate against you          12      Catholic faith, yet you're issuing religious
13        because you were Catholic?                          13      diets to other religions.
14   A.   Well, that's a proven fact when she signed          14                 And he told me, "Well, Mr.
15        off on that grievance and she denied it.            15      Rojas -- Chaplain Rojas makes out the list."
16   Q.   But do you have any evidence that it was her        16                 "He can't give me Lent meal."
17        intent to discriminate against you?                 17                 And he said, "We didn't cook
18   A.   That speaks for itself.                             18      anything because he didn't give us, for one,
19   Q.   So other than the grievance, you have no            19      a number of food -- how many people were
20        evidence that she wanted to discriminate            20      gonna get this meal and who it was supposed
21        against you?                                        21      to be given to. So until he makes up this
22   A.   Asked and answered.                                 22      list," meaning Rojas as "he," "no Catholic
23   Q.   But you didn't answer.                              23      was getting anything."
24   A.   I did answer. I just said --                        24                 I said, "Well, you know, you can



                                                         94                                                            96
 1   Q.   Because of the grievance she signed off              1        go off the back of our I.D.," because on the
 2        on --                                                2        back of our I.D. states who is Catholic and
 3   A.   Yes.                                                 3        who is not.
 4   Q.   -- that's your evidence that she intended to         4                     And he said, "No, I can't do
 5        discriminate against you?                            5        that," he said, "because if I do that,
 6   A.   Yes.                                                 6        that's a form of discrimination, because if
 7   Q.   My question is is there any evidence in              7        I give it to you because it says 'Catholic'
 8        addition to that grievance that you have --          8        on yours, there might be a Catholic over
 9   A.   She done --                                          9        here that's Catholic but it doesn't say that
10   Q.   -- showing that she --                              10        on his."
11   A.   You know, before this became a lawsuit , she        11                     I said, "So you are aware what
12        could have stopped this from becoming a             12        you're doing is discrimination?"
13        lawsuit --                                          13                     He said, "Have a good day."
14   Q.   Okay.                                               14                     So that's my problem with Mr. Fred
15   A.   -- and she chose not to.                            15        Britton. And he never went and -- he never
16   Q.   So you don't have any additional evidence?          16        stated throughout the whole grievance
17   A.   No.                                                 17        process -- for one, they never even
18   Q.   Okay. What is your claim against or claims          18        consulted with him, Counselor Gans or
19        against Freddie Britton?                            19        Grievance Officer -- Counselor Frost or
20   A.   That he had full knowledge that the Catholic        20        Grievance Officer Gans never went and spoke
21        parishioners of Henry Hill was being                21        to Mr. Freddie Britton in the Dietary
22        deprived of their Catholic meal and done            22        Department as to why he was doing what he
23        nothing to help us out in the matter to see         23        was doing.
24        to it that we be fed and receive the                24                  And he knew well aware that he was
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 1        a big part of this lawsuit, because on the       1  Q.      Do you recall any of those specific
 2        face page of the grievance I stated the          2          occasions?
 3        Dietary personnel. And he didn't even go         3  A.      It was always during the month time of Lent.
 4        take a deposition or anything from Freddie       4          And it got to the point that like he say, he
 5        B. as to why this was happening, nor did         5          wasn't gonna keep havin' this debate with
 6        Freddie Britton call Mr. Rojas.                  6          me. It's already -- and that's what I
 7                    Because he could have easily         7          understood, until Rojas makes out the list,
 8        picked up the phone, because the phone is        8          there's nothing happenin'.
 9        right there. He could have easily picked up      9  Q.      Did Freddie Britton say you have to request
10        the phone and say, "Hey, these Catholics are    10          from the chaplain --
11        coming through here. They want to know why      11 A.       He said until he makes out a list no one is
12        they're not given a Lent meal."                 12          getting anything.
13                    "Well, until you send Dietary a     13 Q.       Is there anything else Freddie Britton did
14        Lent meal to go off of, no one is getting       14          to you with regards to this lawsuit?
15        anything."                                      15 A.       No.
16                    So he could have stopped it. But    16 Q.       Steve Gans, what are you alleging that he
17        see over here no one wants to do the next       17          did to you in this case?
18        person's job, even though they know the law     18 A.       Well, he lied first and foremost, he lied.
19        is being broken. It's like if you're my         19          Because when he went to speak to -- let me
20        boss and you don't tell me what to do and       20          get it right. When he went to speak to --
21        here comes an inmate trying to tell me what     21          no, no, that wasn't them. I was thinking of
22        to do, if you don't tell me what to do, I'm     22          Gans. Because --
23        not going to send it to this inmate. But I      23 Q.       That's what I'm asking about, Gans.
24        know what he's telling me is right, but         24 A.       You asking about Gans?



                                                       98                                                          100
 1        until you tell me, I'm not doin' nothin',          1   Q.   Yes.
 2        and that's how things work around here.            2   A.   Okay. No, Gans, his -- my problem with Gans
 3   Q.   Okay. So based on what you said, it's my           3        was he lied and stated that when he spoke
 4        understanding that Freddie Britton told you        4        with Rojas, that Rojas stated that he wasn't
 5        that he could not provide special diet meals       5        going to answer any more of my questions
 6        unless he had a list from the chaplain?            6        when, in fact, Rojas never stated that he
 7   A.   Chaplain Rojas, correct.                           7        wasn't gonna answer any more of my
 8   Q.   Okay. And you think he should have provided        8        questions.
 9        you that meal anyways?                             9                   When Counselor Frost spoke to
10   A.   Or he should have called Chaplain Rojas or        10        Mr. Rojas and Mr. Rojas stated he wasn't
11        brought it to the warden's attention, "Hey,       11        going to answer any of my questions, but
12        these Catholics are coming over here,             12        Defendant Gans tried to hoodwink the whole
13        they're askin' for their meal. Rojas needs        13        process and stated that he stated that he
14        to get us a list over here."                      14        wasn't going to answer any more of my
15                    He wasn't concerned in the least      15        questions without legal representation.
16        bit to see that we be fed. And that's my          16                   And I'm like that's not what was
17        thing with him. Because he could have -- he       17        stated in Counselor Frost's deposition of
18        could have -- he could have took it a step        18        Chaplain Rojas.
19        further to where we wouldn't be here today.       19                   Chaplain Rojas stated he's not
20   Q.   And how many times did you speak to Freddie       20        going to say anything without legal
21        Britton?                                          21        representation. He's not going to answer
22   A.   I spoke to him on numerous occasions.             22        any of my questions.
23   Q.   About your religious diet?                        23                   But he rephrased it when it went
24   A.   Yes.                                              24        to Gans. That's why I say he lied. He
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 1      said he's -- Chaplain Rojas said he's not        1            Advisory Board that they have here. Every
 2      going to answer any more of Mr. O'Neal's         2            institution in the Illinois Department of
 3      questions without legal representation. It       3            Corrections has a Religious Practice
 4      wasn't that he wasn't gonna answer any more.     4            Advisory Board.
 5      He wasn't going to answer any.                   5                          So anything that a Catholic,
 6   Q. Okay. What involvement did Mr. Gans have         6            Muslim, or so forth, whatever denomination
 7      with your religious diet request?                7            is saying that they should be given this or
 8   A. Well, he could have, one, went to the            8            that, if they have a problem with that, they
 9      Dietary Department and asked Mr. Britton,        9            could go consult with the Religious Practice
10      "Well, Mr. Britton did you have a               10            Advisory Board.
11      conversation with Mr. O'Neal pertaining to      11                          So he didn't go speak to the
12      his Lent diet?"                                 12            Religious Practice Advisory Board. He
13                 It was of no concern. That's my      13            didn't go speak to the Dietary Department.
14      problem with him. It was of no concern,         14            He failed -- he neglected to do his due
15      because he didn't take the initiative, nor      15            diligence.
16      the time out to go and speak to the Dietary     16 Q.         So your issue with him really is that he did
17      personnel, because as far as he was             17            not --
18      concerned, to hell with the Catholic            18 A.         He didn't do his job. He didn't do his job.
19      parishioners. So that was my problem with       19 Q.         Which was to what? What was his job
20      Mr. Gans.                                       20            specifically?
21   Q. So Mr. Gans didn't deny you any religious       21 A.         I just -- I just told you what his job was.
22      diet, he just --                                22 Q.         Other than you having said it now, what
23   A. No, he did deny me that. Because he denied      23            evidence do you have that those things you
24      me the right of going to speak to Gans,         24            just listed were his job?



                                                      102                                                            104
 1      because if he would have went and spoke              1   A. He failed to consult with the people he
 2      to -- I mean, if he would have went and              2      should have went to to straighten out this
 3      spoke to Freddie Britton, he could have told         3      problem.
 4      Freddie Britton, "Hey, man, give these guys          4   Q. Okay.
 5      that fish tray, you know. This is causing a          5   A. Rectify the problem.
 6      lot of problems here. This would be better           6   Q. What evidence do you have that it was his
 7      off just give these guys this fish tray and          7      job to speak specifically with the Religious
 8      I could sign off stating that from this              8      Practice Advisory Board?
 9      moment moving forward these guys are going           9   A. That's what the Religious Practice Advisory
10      to be fed this meal."                               10      Board is in every Illinois Department of
11                  But by you failing to do your job       11      Corrections facility, if you have a problem,
12      to walk over there to the Dietary Department        12      grievance officers, counselors, they tell
13      to consult with either Freddie Britton or           13      them that if there is a problem with that,
14      the Dietary manager as to why is this               14      consult with them to find out if this person
15      happening, that showed of no concern to him         15      is to be -- what's the word that I'm looking
16      and, like I said, to hell to the Catholics.         16        for -- accommodated with whatever you asking
17   Q. Do you have any evidence that Mr. Gans had          17        to be accommodated with.
18      the authority to tell Dietary to provide you        18                   You know, I can tell you, "Hey,
19      the specific meal?                                  19        I'm Jewish, I want for Passover, I want this
20   A. Yes, that's his job, you know, because he           20        meal."
21      could have went over there and told him , you       21                   So they're gonna check that, is
22      know what I'm sayin', that I'm a counselor,         22        Mr. O'Neal Jewish or not?
23      I looked into this, I talked to -- he could         23                   "Chaplain Rojas, is he Jewish?"
24      have even went to the Religious Practice            24                   "Not to my understanding."
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 1                 And then they go to the Religious       1  Q. So you attended that school?
 2      Practice Advisory Board because they just          2  A. Yeah, the school is no longer called
 3      can't stop with Chaplain Rojas, because I          3     St. Bonaventure's. They changed the name.
 4      can practice any way I choose to practice,         4     But the church is still St. Bonaventure.
 5      and I'd even go to the Religious Practice          5  Q. Did you ever become a confirmed Catholic?
 6      Advisory Board.                                    6  A. Say again.
 7                 "Do you know anything about             7  Q. Did you ever go through confirmation?
 8      Mr. O'Neal being Jewish, because he wants to       8  A. Yes.
 9      be doing this?"                                    9  Q. When was that?
10                 And they'll look on there, "Oh,        10 A. When I was younger.
11      last we seen he signed up as being Catholic .     11 Q. And was that at St. --
12      He's not to get that meal," so I wouldn't be      12 A. St. Bonaventure, yeah.
13      given the meal. It's that simple.                 13 Q. Do you remember approximately when that was?
14                 But by you failing to consult with     14 A. God, that -- I was back there like in '74,
15      the Religious Practice Advisory Board and by      15     '76, somewhere in there.
16      you failing to consult with the Dietary           16 Q. Okay. What are your claims against John
17      Department, which is Freddie Britton, or the      17     Frost?
18      Dietary manager, you've neglected to do your      18 A. Pretty much the same as Grievance Officer
19      due diligence. You've neglected to do your        19     Gans. He failed to -- he neglected to do
20      job.                                              20     his job as well. Everything that I stated,
21   Q. Okay. Before we go to the next person, I          21     that he did not consult with the Religious
22      just had a couple things that I had thought       22     Practice Advisory Board, he didn't consult
23      of. Have you ever been baptized?                  23     with the Dietary Department, Freddie Britton
24   A. I was told that I was, but I was told that I      24     or the Dietary manager, nor did he try to



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 1        was young when I did. I don't recall being         1        consult with the warden, Stephanie Dorethy,
 2        baptized, but I was told that I was.               2        as to the problem -- the ongoing problem
 3   Q.   Do you know if that was in a Catholic              3        that was occurring here with the Catholic
 4        Church?                                            4        parishioners of Henry Hill Correctional
 5   A.   Yes.                                               5        Facility.
 6   Q.   Did you -- do you know if you ever had             6   Q.   Is there anything else you're claiming he
 7        communion?                                         7        did to you?
 8   A.   Yes, I take communion here regularly.              8   A.   Mr. Frost?
 9   Q.   Do you remember having a First Communion?          9   Q.   Yes.
10   A.   I was young. I couldn't remember.                 10   A.   He didn't do his job.
11   Q.   Okay. Did you ever attend catechism               11   Q.   Okay. Nothing else?
12        classes?                                          12   A.   That's it. He didn't do his job. He didn't
13   A.   When I attended St. Bonaventure's, yes.           13        do his due diligence.
14   Q.   I'm sorry, I don't --                             14   Q.   What about Melissa Phoenix, what are your
15   A.   I said when I attended St. Bonventure's.          15        claims against her?
16   Q.   St.?                                              16   A.   That she did not forward this back to the
17   A.   Bonaventure's.                                    17        institution that it came out of, because I
18   Q.   How do you spell --                               18        pointed out -- and I'm trying to see what
19   A.   B-O-N-A-T-U-R-E (sic), Bonaventure, yeah.         19        exhibit is that -- I want to say it's P.
20        It's been awhile since I been over there.         20        That I pointed out to her in there that on
21        It's located on Diversy in Chicago. I think       21        the grievance -- on the grievance -- on the
22        the address is 1726 West Diversy.                 22        grievance form, in order for it to reach her
23   Q.   And that's just a church?                         23        destination, which is in Springfield, as
24   A.   No, that's a school and a church.                 24        being the Administrative Review Board
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 1   officer, that one of the things that she          1           with it.
 2   supposed to look at first and foremost is         2                      And I filled out a Certificate of
 3   whose signature resides in that space which       3          Service along with a letter and I sent that
 4   is that box designated for the CAO to sign        4          to the director pinpointing exactly what I
 5   in his or her signature only.                     5          just told you, there's a problem with that
 6               And I had a problem with that         6          signature being in that box and that there's
 7   signature, because as I stated in Exhibit --      7          a problem in the institution, and I'm hoping
 8   I think it was P, is that that signature          8          that you can rectify the problem.
 9   looked very odd to me, because it didn't          9                      Well, he coincided with what
10   look like a signature that I was used to         10          Phoenix said, there's no problem with
11   seeing that Dorethy name was signed in that      11          whatever is going on over there, they know
12   box. Because I said that -- that whoever         12          what they're doing.
13   signed that form, that document, didn't know     13                      So now I'm forced to bring a
14   how to spell Dorethy's name. Because that        14          lawsuit because I gave you every opportunity
15   signature bears -- to me it looks like it        15          from the institution from Chaplain Rojas,
16   says Days, D-A-Y-S, and they didn't know how     16          from the counselor, from the grievance
17   to spell Stephanie, so they just abbreviated     17          officer, you see what I'm saying, from the
18   the S. So I pinpointed that to her               18          director -- I mean the Administrative Review
19   attention first and foremost, which she          19          Board person, and to the director to rectify
20   knows being the Administrative Review Board      20          the problem, but you refuse to rectify the
21   officer that that box is designated only for     21          problem. So now we've got to fight in the
22   the chief administrative officer.                22          federal judicial court about a fish sandwich
23               So I said it looked like that        23          that should be given, you know.
24   signature has been forged, and if that's the     24 Q.       So just to be clear, you don't believe that



                                                   110                                                        112
 1   case, then that form needs to come back              1      Stephanie Dorethy actually signed your
 2   here, because whoever signed off on that is          2      grievance?
 3   letting it be known that we're aware of              3   A. I don't know who signed it, but I said it
 4   what's been going on.                                4      just didn't bear a signature that was known
 5               So she had no problem with that          5      to me to be hers. So I wanted to know if
 6   signature being in that box. And for that            6      she did not sign it, who signed that box.
 7   reason she signed -- she denied my grievance         7   Q. And your claim against Melissa Phoenix is
 8   stating that it's been addressed at the              8      that she did not --
 9   institution and they're in agreement with            9   A. She -- she didn't do her due diligence.
10   it, you know, and they're not gonna bother          10   Q. So you're suing her because of her
11   with it.                                            11      involvement in a grievance procedure?
12               And I'm like that's crazy because       12   A. Right. Because she could have easily
13   I just told you you have a whole                    13      corrected this immediately. It wouldn't
14   congregation of people not being fed and            14      even have had to go to the director.
15   that's definitely against the law in the            15                  She could have sent this back to
16   courts but I'm trying to let you straighten         16      the institution saying, "I have a problem
17   it out before we get to this point because          17      with whoever signed this signature because
18   it's not too late to forward this grievance         18      he's given me two exhibits of how Stephanie
19   back to the institution and rule in my favor        19      Dorethy's name appears , and every signature
20   instead of denying it but concurring saying         20      that I'm seeing that he showed me," which
21   that, yeah, this signature, there's                 21      was two, "and I'm looking at the signature
22   something faulty with it, and this procedure        22      in this box and none of the three match one
23   is unconstitutional, so give these guys what        23      another. So whose signature is in this box?
24   they have coming. But she had no problem            24      And, Warden Dorethy, what is your signature
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 1      just for," you know, "so I would know?"           1            Phoenix and all of them have denied of
 2                  But she didn't care whose             2            seeing to it that the Catholic parishioners
 3      signature was in the box. She didn't care         3            be accommodated this alternative meal for
 4      about having the IDOC and seven defendants        4            Lent, non-meat religious diet.
 5      be brought into a federal judicial court          5  Q.        Do you have any evidence that John Baldwin
 6      about a fish sandwich. So, you know, that's       6            personally received your letter?
 7      where we're at with it.                           7  A.        I just told you. I have the -- I have the
 8   Q. Is there anything else you are claiming           8            return receipt of service after it was
 9      Melissa Phoenix did to you in this case?          9            delivered to his office stamped, not just
10   A. That's it.                                       10            with his name on it, stamped "Received."
11   Q. All right. What are your claims against          11 Q.         Received by what?
12      John Baldwin?                                    12 A.         By the -- whoever delivers the mail, United
13   A. Well, I hold him at fault very heavily           13            States Parcel, whoever it left off to, that
14      because, as I stated a few minutes ago, I        14            it was delivered to his office.
15      sent him a certified letter which I had to       15 Q.         So it's -- the stamp says that it was
16      pay likes $6 and something for the certified     16            delivered to his office?
17      postage and like 3 to be returned back to me     17 A.         Yes.
18      that he received it. So I paid a total of        18 Q.         Doesn't say that it was specifically
19      like maybe $9 and some change advising him       19            delivered to him, correct?
20      what was going on here at Henry Hill             20 A.         Well, it has his signature on there. It has
21      Correctional Facility, and he chose to do        21            somebody's signature on there that it's
22      nothing about it.                                22            being received.
23   Q. First, what evidence do you have that he         23 Q.         But you don't know if it's his signature?
24      received this letter?                            24 A.         It's someone's. It someone's over there.



                                                       114                                                          116
 1   A.   I have the -- it's all in -- it's all there.        1   Q. Other than the stamp that says that it was
 2        And I also have --                                  2      received by the director's office, do you
 3   Q.   What do you mean it's in here? In the               3      have any evidence that John Baldwin
 4        Complaint?                                          4      personally read your letter?
 5   A.   Yes. It's towards the back. It's towards            5   A. Yes, because when he signed off on the
 6        the back.                                           6      grievance, he signed off to everything that
 7   Q.   What specifically is it that I'm looking            7      was attached to that because the letter that
 8        for?                                                8      I sent to him is attached to that grievance
 9   A.   I showed him -- I showed him -- I think it's        9      as well, so he definitely read the letter.
10        the money voucher. It's at the end. It's           10   Q. So if it's not his signature on the
11        way past -- it should be -- well, like I           11      grievance, would you agree that he --
12        said, I have copies of the receipt for             12   A. I can't agree to nothin' on that because I
13        certified mail --                                  13      wouldn't -- like I say, only they know what
14   Q.   Okay.                                              14      goes on over there. I'm incarcerated over
15   A.   -- that he received it. Then I have the            15      here in Galesburg. That's in Springfield.
16        money voucher where they signed off that           16      So I can't. . .
17        they took the money out of my account for it       17   Q. Do you know if John Baldwin did actually
18        to go to Springfield.                              18      sign the grievance personally?
19   Q.   What evidence --                                   19   A. Again, I stated, it went to Springfield,
20   A.   And I got the return receipt after he              20      someone, whether it was him or someone,
21        received it from Springfield returned back         21      signed the signature stamped as being
22        to me letting me know that he was in fact in       22      received, and it was addressed to Baldwin.
23        reception of the letter that I stated to him       23   Q.   Okay. Have you ever spoken to John Baldwin ?
24        along with the grievance that Melissa              24   A.   No.
                            4:18-cv-04063-SEM-TSH      117 # 109-1        Page 30 of 66                             119
 1   Q.   Have you ever spoken to Melissa Phoenix?          1          getting anything.
 2   A.   No. They in Springfield, like I said. I'm         2                     So as far as what he was actually
 3        over here in Henry Hill.                          3          thinking, you know, does he have somethin'
 4   Q.   So have you ever -- other than your               4          against Catholics -- as far as I know, he
 5        grievance have you ever communicated with         5          might be Catholic. I don't know what for.
 6        Melissa Phoenix about your dietary needs?         6          He was going off of if this guy isn't
 7   A.   Through grievance.                                7          getting anything, you guys aren't gettin'
 8   Q.   Just the grievances, okay.                        8          anything.
 9                   Have you ever spoken to John           9  Q.      Do you have any evidence that Steve Gans
10        Frost?                                           10          wanted to discriminate against you because
11   A.   Personally, yes.                                 11          you were Catholic?
12   Q.   You have?                                        12 A.       He wanted to do something other than do his
13   A.   Yes.                                             13          job. He didn't -- he wasn't in favor of
14   Q.   About your dietary needs?                        14          going out of his way to see to it that we be
15   A.   Yes.                                             15          fed.
16   Q.   What specifically -- when did you talk to        16 Q.       Other than what you just said is there any
17        him?                                             17          other evidence that you had that he wanted
18   A.   After he signed off on my grievance.             18          to discriminate against you because you were
19   Q.   And what did you guys talk about?                19          Catholic?
20   A.   I told him why he didn't go to the Religious     20 A.       His actions spoke for itself. Speaks
21        Practice Advisory Board and why did he deny      21          volumes.
22        the grievance.                                   22 Q.       Okay. So nothing besides what you talked
23   Q.   Okay. And what did he say?                       23          about?
24   A.   He said he's not going to get into that, he      24 A.       His actions speaks volumes.



                                                       118                                                         120
 1        addressed that issue already.                       1   Q.   Do you have any evidence that John Frost
 2   Q.   Did you guys have any other discussion about        2        wanted to discriminate against you because
 3        it?                                                 3        of your religious --
 4   A.   No, because that -- it's -- from that point         4   A.   Same answer, his actions speaks volumes.
 5        on, it's moot, you know. He's not going to          5   Q.   What about Melissa Phoenix, and evidence --
 6        talk about it anymore, that was clear.              6   A.   Same answer, actions speak volumes.
 7   Q.   So did you have any other discussion with           7   Q.   What about John Baldwin, any evidence that
 8        him about your dietary needs?                       8        he wanted to discriminate against --
 9   A.   That was clear that was moot from that point        9   A.   Same answer, actions speak volumes.
10        on.                                                10   Q.   So other than actions speaks volumes,
11   Q.   Is anybody other than Manuel Rojas involved        11        there's no other evidence that you have that
12        in your claim about not being allowed to go        12        those defendants we just talked about wanted
13        to Cursillo?                                       13        to discriminate against you because of your
14   A.   No, just him.                                      14        religion.
15   Q.   Do you have any evidence that Freddie              15   A.   You say me. I wouldn't say me. I would say
16        Britton wanted to discriminate against you         16        the Catholic parishioners, because I'm not
17        because of your religion?                          17        the only one that wasn't been fed. It
18   A.   I can't say that, no. I don't know what's          18        wasn't like they fed the Catholics and
19        going on in his mind. I don't know -- to be        19        excluded me. They excluded all Catholics.
20        honest with you, I believe that, like I said       20        So it wasn't a thing, oh, we don't want to
21        earlier, I just believe that no one wants to       21        feed Mr. O'Neal. They didn't want to feed
22        do no one else's job here, and he was going        22        Catholics period in Henry Hill Correctional
23        off -- you know, until this guy gives me a         23        Facility.
24        list, he's sticking to his guns, no one's          24   Q.   Are there any other claims you have against
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 1        any of these defendants other than what           1     Britton?
 2        we've just talked about today?                    2  A. No, that's not their department. That all
 3   A.   Everything that might be with -- whether          3     falls on Chaplain Rojas.
 4        it's the Catholic defendants, the Catholic        4  Q. And same with Dorethy too then, right?
 5        Church defendants --                              5  A. Yeah.
 6   Q.   Just the defendants you and I talked about.       6            MR. ANKNEY: All right. I'm going to
 7   A.   Everything I stand on what's in the               7      look through my notes.
 8        grievance and in the lawsuit.                     8            MR. AHMAD: I'll follow up some.
 9   Q.   Do you know if meatless Fridays are going to      9
10        be provided in 2020?                             10 FURTHER EXAMINATION BY MR. AHMAD:
11   A.   That's not here yet, so I can't say if it is     11 Q. Just to follow up on what was being asked
12        or not.                                          12     earlier, ultimately you said the decision on
13   Q.   Do you have any evidence that Hill               13     whether or not the special dietary meals
14        Correctional Center will not provide             14     were being provided were Defendant Rojas's
15        meatless Fridays in 2020?                        15     decision?
16   A.   It hasn't gotten here yet, so I can't say it     16 A. Correct.
17        will or it won't.                                17 Q. Defendant Rodriguez or Lahood could not have
18   Q.   Okay. I believe one of the things you talk       18     ordered Rojas to act one way or the other;
19        about in your Complaint is that you were         19     they could have just advised, is that
20        discriminated against, Catholics were being      20     correct?
21        discriminated against because other              21 A. Right, advised, exactly.
22        religions were provided with special diets,      22 Q. But not order?
23        correct?                                         23 A. See, I'll say this, and I would like to have
24   A.   Right.                                           24     this stated for the record if it does any



                                                     122                                                         124
 1   Q.   Do you have any evidence that John Baldwin         1      good in moving forward, when this case is
 2        personally determines which religions get          2      all come to a conclusion, I honestly believe
 3        religious diets?                                   3      that the Catholic Church should sit down and
 4   A.   No, that's not on him. That's Chaplain             4      speak to the Department of Corrections and
 5        Rojas.                                             5      see to it that when Lent comes about if
 6   Q.   So not Melissa Phoenix either; she had no          6      they're able to provide meals for the
 7        involvement in the discrimination?                 7      Catholics themselves to where things like
 8   A.   That's Chaplain Rojas.                             8      this could never get out of hand and get to
 9   Q.   Okay. And I'm just going to go through them        9      this point.
10        just so we're clear.                              10                  Because the Jewish faith, they
11                   John Frost doesn't have any            11      take care of their own. And they take care
12        involvement in that claim, correct?               12      of them through New York. For when it's
13   A.   I can't say -- I can't say about Frost,           13      time for them to celebrate whatever they do,
14        because I would say that could -- if he           14      all their accommodations are sent in here
15        would have done his job , he could have went      15      from an outside vendor and approved to come
16        over there and spoke to Chaplain Rojas, you       16      in so they be accommodated.
17        know.                                             17                  And I believe that's what the
18   Q.   Other than speaking to Chaplain Rojas,            18      Catholic Church should see to it to where
19        there's nothing else that he's --                 19      they'll know for sure that the Catholics are
20   A.   He don't have no -- he don't have no --           20      being taken care of to where they don't have
21        whether you gonna be Catholic or, you know,       21      to be involved in any shenanigans, whatever
22        Muslim or whatever, that's not his                22      the Illinois Department of Corrections
23        department.                                       23      chooses to do to the Catholic parishioners.
24   Q.   Okay. And does the same go for Gans and           24   Q. You mentioned previously that since the
                             4:18-cv-04063-SEM-TSH   125 # 109-1        Page 32 of 66                             127
 1      lawsuit has been filed that 95 percent of         1           vegan meals --
 2      the time you've had meatless Fridays.             2  A.       No. Rojas and Dorethy. That's what I told
 3   A. Yes.                                              3           you, that's what that form consists of.
 4   Q. Okay. Describe to me how you had meatless         4           Rojas sends it to you. You sign it. Now
 5      Fridays since. And I think you filed suit         5           Rojas relay back stating -- if he signs off
 6      in March of 2018, and you're talking about        6           on it, he sends it to Dorethy, but she said
 7      every Friday.                                     7           she relinquished those duties to her
 8   A. Listen, what I mean by that is, like I said,      8           Assistant Warden of Programs. So whoever
 9      you might have something that was made of         9           that person is, he looks at it.
10      say for instance rice, and they got some         10                      I guess the procedure would be to
11      stuff in here we don't know what that stuff      11           check to see are you of that religion, and
12      is. You don't know what it is, you know          12           with Rojas signing his signature, I guess
13      what I'm sayin'?                                 13           that's the stamp of approval saying, well,
14                  So if you gonna eat around the       14           okay, if he has no problem with it, the
15      rice, you see what I'm sayin', and you           15           chaplain, well, I'll sign it, and now it
16      really look at it, this stuff -- who             16           goes to the Dietary Department, and your
17      knows -- what is this stuff, you know? What      17           name will come on the form.
18      is it?                                           18                      And when you go over there you'll
19   Q. What about in 2017?                              19           say, "I'm here to pick up my Lent tray. My
20   A. What do you mean 2017?                           20           name is Aaron O'Neal."
21   Q. So you're saying since the lawsuit was filed     21                      "Okay. Sign right there."
22      95 percent of the time you had meatless          22                      And they'll give you a tray and
23      Fridays.                                         23           walk off. But there's never no. . .
24   A. I'm saying before this.                          24 Q.        Did you ever reach out to Dorethy regarding



                                                      126                                                         128
 1   Q.   Since 2005 --                                      1        a vegan meal?
 2   A.   Right.                                             2   A.   Through my grievance.
 3   Q.   -- 95 percent of the time you had meatless         3   Q.   Not before that?
 4        Fridays?                                           4   A.   No, because Dorethy don't talk to anyone.
 5   A.   Yes.                                               5   Q.   Okay. Did you ever ask anyone for a vegan
 6   Q.   And you mentioned something about a vegan          6        meal?
 7        choice. How does that work?                        7   A.   Yes.
 8   A.   Well, that's -- if Rojas approves the diet,        8   Q.   When?
 9        that means that we're not to be fed anything       9   A.   Freddie B. Freddie B. Freddie Britton.
10        with meat products. We have to -- you can         10   Q.   Who's that?
11        give us soup, tomato soup, or anything of         11   A.   That's --
12        that nature, but that's what they choose to       12   Q.   Oh, Freddie Britton?
13        do here, you know.                                13   A.   Yes.
14                   Since like I told you this past        14   Q.   When did you first ask for the vegan meal?
15        year, they gave the cheese and -- grilled         15   A.   During Lent.
16        cheese and the pizza, which there's no meat.      16   Q.   What year?
17   Q.   But how would you go about getting the            17   A.   Well, when -- the first time that I asked
18        meat -- a vegan meal if you wanted to?            18        him about the meal, he laid back and told me
19   A.   You would have to write whatcha-call --           19        that it wasn't gonna happen.
20        what's his name? Chaplain Rojas. You have         20   Q.   What year?
21        to contact him to let him know are you going      21   A.   There again, that was in '16. And I asked
22        to send the slips out so I can be                 22        him again.
23        accommodated the meal for Lent.                   23                   "That's not gonna happen."
24   Q.   So Rojas is the only person that can approve      24   Q.   Okay. So you asked him during Lent in 2016 ?
                               4:18-cv-04063-SEM-TSH   129 # 109-1 Page 33 of 66                               131
 1   A.   Every year we go over there we ask them,          1  BY MR. AHMAD:
 2        "Meals, meals, there's nothing here, there's      2  Q. There's a grievance procedure in place --
 3        nothing here."                                    3  A. Correct.
 4   Q.   Where do you ask him? Do you ask him in his       4  Q. -- correct?
 5        office?                                           5                 Did you ever file a grievance
 6   A.   In the chow hall. In the chow hall.               6      saying that you never received that dietary
 7   Q.   In the chow hall?                                 7      form?
 8   A.   Yeah, in the chow hall.                           8  A. Yes, it's there.
 9   Q.   So essentially you show up to the chow hall       9  Q. When did you first file a grievance saying
10        and then you say, "I want a Lent meal" --        10      that the form is not being provided to you?
11   A.   Right. And he says, "There is none."             11 A. 2016.
12   Q.   Did you ever ask for a vegan meal in             12 Q. So from 2005 to 2016 you never made a
13        writing?                                         13      grievance on that?
14   A.   No. You can't ask for it in writing.             14 A. No, because see, it's good that we have that
15        That's like -- that would do away with the       15      point too because throughout this whole
16        whole procedure of the form. It's gotta be       16      procedure I never knew what they were doing
17        on the form or it's not being honored. I         17      was against the law. I just thought we
18        could write 20, 30 letters to Rojas, this        18      were, you know, as they say blank out,
19        and that, if it's not on that form, you're       19      A-out, you know, you not receiving it.
20        not getting anything.                            20                 So one day in 2016, that's when
21               MR. ANKNEY: I'm sorry, I just -- I        21      the guy told me, he said, "Man, you know
22         was confused there for a second. Did you        22      what they're doin', they're discriminatin'
23         say you never submitted a request for a         23      against you guys. They're givin' them to
24         vegan diet in writing?                          24      all the other guys."



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 1              THE WITNESS: The request has to come         1                    He said, "The reason why this is
 2          to you. You cannot request -- the only           2        happenin' is because you guys aren't filing
 3          thing you could ask is he's gonna send them      3        grievances and no one is sayin' nothing."
 4          out. If he chooses to send them out,             4                    I said, "We are. We are saying
 5          that's on him. You can't make him send           5        something."
 6          them out. You can't take a plain sheet of        6                    I said, "We are saying something,
 7          paper and say, "Mr. Rojas, I want to be fed      7        but it's not being honored."
 8          a Lent meal, non-meat diet, honor this."         8                    He said, "Yeah, you can tell them
 9                    No. It's gotta be on that form or      9        that you want to be fed until you're blue in
10        it does not get honored. That's the form          10        the face," but he said, "until you file a
11        that I showed you.                                11        grievance on that, they're gonna keep doin'
12                    What was that form? I forget          12        what they're doin'."
13        what -- I think it's --                           13   Q.   So in 2016 you filed a grievance requesting
14              MR. ANKNEY: The Offender Request for        14        Form DOC --
15         Religious Diet?                                  15   A.   No, we ask for them forms every year.
16              THE WITNESS: It's B, yes. If it's           16   Q.   Did you ever file a grievance that you were
17         not on that form, you're not getting it.         17        not receiving the form?
18         You can write -- you can write on a plain        18   A.   No, no, no.
19         sheet of paper or a blank sheet of -- you        19   Q.   You never filed that grievance?
20         know, lines (sic) with paper (sic), if it's      20   A.   I told you until 2016 because I didn't
21         not on that form and it does not go through      21        think --
22         the procedure, you are not --                    22   Q.   So in 2016 did you file a grievance for it?
23                                                          23   A.   Yes.
24                                                          24   Q.   So you filed a grievance through the
                                4:18-cv-04063-SEM-TSH  133 # 109-1           Page 34 of 66                            135
 1        channels to get this form?                        1  Q.        What was the response?
 2   A.   No, I let them know that it was not being         2  A.        You have it right there.
 3        honored.                                          3  Q.        What was it? What's your understanding?
 4   Q.   In the grievance?                                 4  A.        Everybody was shut down by the counselor,
 5                     Well, no, my question is do you      5            the grievance officer, the warden, ARB
 6        file a grievance saying that you're not           6            Board, and Melissa Phoenix, and the
 7        receiving the form?                               7            director.
 8   A.   Yes. It's in there. I told them in my             8  Q.        When was the decision made on that
 9        grievance, I said that Rojas is not sending       9            grievance?
10        the -- you know, he's not accommodating,         10 A.         It's all in there.
11        he's not seeing to it that we don't -- we're     11 Q.         What year was it?
12        not getting what we supposed to --               12 A.         That was in 2016, '17. It's in there.
13   Q.   I'm not asking about the meal. I'm asking        13 Q.         Okay.
14        about the form.                                  14 A.         That's -- it's in Exhibit T. One signed off
15   A.   Right.                                           15            on the 4th and one signed off on the 5th. I
16   Q.   So your grievance in 2016 says Rojas did not     16            believe Melissa Phoenix signed off on -- no,
17        provide the form to you?                         17            I'm thinking -- I'm thinking -- that was
18   A.   I guess. It's in there. It's somewhere in        18            Gans and Dorethy, that was on the 4th and
19        there. I told them in there that he's not        19            the 5th. And Gans -- I mean, Phoenix and
20        issuing the form which he's supposed to.         20            Baldwin signed off right after one another
21        It's in the grievance.                           21            as well. But that's Exhibit Q of the
22   Q.   And when in 2016 did you file that               22            original grievance.
23        grievance?                                       23 Q.         Sorry, so you filed a grievance on April 14,
24   A.   April, I think it's 16, is the grievance?        24            2016.



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 1        What is it, April 16 or April 14, I believe.          1   A.   Yeah, '16. And they signed off on it -- it
 2   Q.   So April of 2016?                                     2        ended -- it left Springfield -- Exhibit Q,
 3   A.   Yeah.                                                 3        it should have the date on there.
 4   Q.   Is that what you're saying?                           4   Q.   I'm going to show you a set of documents.
 5   A.   Yes, April 16 or 14, one of them.                     5        Is this the grievance that you had filed?
 6   Q.   Of 2016?                                              6   A.   Yes, this is the grievance.
 7   A.   2016.                                                 7   Q.   Is that the entire grievance?
 8   Q.   Okay. And when was Lent in 2016?                      8   A.   With the attachments, the supplemental
 9   A.   It was still in effect, if that's what                9        attachments on Frost and Gans -- I mean not
10        you're asking. It's accounted there, which           10        Frost and Gans, but Rojas and Frost.
11        I pointed out in there.                              11   Q.   Is there anything missing from that
12                     And I let it be known Lent is           12        grievance that I provided you?
13        still going on as I'm doing this right now.          13   A.   This is it all the way from -- all the way
14        So, man, this could stop right now, but they         14        up to H from -- only thing that's missing
15        chose not to stop it.                                15        from here at the beginning of the grievance
16   Q.   Okay. And then in 2017 did you get a form,           16        is A through -- A, B, C, D is not here.
17        DOC --                                               17   Q.   Did you include that in the Complaint?
18   A.   No, they did not give us a form --                   18   A.   All that's attached is exhibits. A, B, C,
19   Q.   Did you file a grievance in 2017?                    19        and D is all exhibits. It goes to -- that
20   A.   No, because I've already filed it and it's           20        goes -- that coincides with the grievance,
21        ongoing, so there was no need to --                  21        goes with the grievance.
22   Q.   Was there a response to the grievance that           22   Q.   Were they filed as part of the grievance?
23        you filed in 2016?                                   23   A.   Yes.
24   A.   Yes.                                                 24   Q.   Okay. So are these what you're talking
                             4:18-cv-04063-SEM-TSH     137 # 109-1 Page 35 of 66                                139
 1        about?                                            1                 (Deposition Group Exhibit A so
 2   A.   Yes, these are all the affidavits.                2                 marked for identification)
 3   Q.   Okay. So of all of this, and I'm going to         3
 4        give you this too (indicating).                   4  BY MR. AHMAD:
 5   A.   Except P. P and Q is not here.                    5  Q. Show us in that exhibit where you requested
 6   Q.   Do you have a P and Q?                            6      specifically form DOC0388.
 7   A.   P, Q, and R is not there. Because R is when       7  A. I got in here when I told -- I was letting
 8        I saw that counsel from Loevy & Loevy,            8      him know that Rojas has not issued that.
 9        that's R. Q is Baldwin and Mrs. Phoenix           9      But I don't use the number as on that page
10        denial of the grievance. And P is Dorethy's      10      as what you stated, because I didn't know
11        showing that --                                  11      the number. Right here where I got #10,
12   Q.   The only thing I'm asking right now, if you      12      paragraph 10. I said, "Chaplain Rojas
13        could identify from these exhibits that are      13      without a doubt is supposed to prepare
14        in front of you what were the grievances         14      Catholic Lent alternative list to Dietary
15        that you filed. I don't want to know what        15      Department."
16        the response was, just what you filed.           16 Q. And that's #10 on what is marked page 21 of
17   A.   Everything is intact right here up until P,      17      27 in the packet.
18        Q, and R.                                        18 A. This is page -- page 5, paragraph 10,
19   Q.   So like this was something that you filed or     19      "Chaplain Rojas without a doubt is supposed
20        something that they presented to you             20      to prepare Catholic Lent alternative list to
21        afterwards (indicating).                         21      Dietary Department personnel. However,
22   A.   No, this is what Rojas sent to me and I used     22      chooses not to do so which not only leaves
23        that as an exhibit in part of my grievance.      23      Dietary Department personnel from preparing
24   Q.   So this entire packet is something that you      24      how much food to prepare for this service



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 1        filed?                                             1      meal, but also deprives Catholic from our
 2   A.   Yes.                                               2      Friday Lent meals."
 3   Q.   Including from the front page?                     3   Q. Okay. And just for identification, this is
 4   A.   Yes.                                               4      Document No. 1-1, page 21 of 27; is that
 5   Q.   Exhibit A?                                         5      correct?
 6   A.   Yeah, this is all --                               6   A. That's what it states at the top. 1 of 1,
 7   Q.   Was this in the grievance?                         7      pages 21 of 27. And on the grievance page
 8   A.   Yes.                                               8      is listed on page 5.
 9   Q.   Okay. So what you're saying is the exhibits        9   Q. Okay.
10        that you --                                       10   A. Of the original filing of the grievance.
11   A.   All that's a part of the grievance. It's          11   Q. Is that it or is there anywhere else that --
12        been filed and gone all the way through the       12   A. I kind of figured I could go right to it.
13        institution all the way up to Springfield         13      I'm quite sure it's probably somewhere else
14        and now is in the U.S. District Court of          14      in here. It's pointed out, if that's what
15        Springfield.                                      15      you're trying to say. It's all throughout
16   Q.   Okay. So all the exhibits that were filed         16      here. In you want to take the time out, we
17        with the Complaint are part of the grievance      17      can go further.
18        packet?                                           18                   Well, I tell in here, I say on
19   A.   Yes.                                              19      paragraph 5, page 4 of the original
20   Q.   Okay. And I'm going to mark them as --            20      grievance, I say, "Catholic inmates here at
21   A.   Only ones missing out of there, like I say,       21      Henry Hill Correctional Center for numerous
22        is P, Q, and R.                                   22      years have been deprived of alternative
23                                                          23      during Lent which starts Ash Wednesday and
24                                                          24      concludes on Easter Sunday which prohibits
                             4:18-cv-04063-SEM-TSH  141 # 109-1 Page 36 of 66                               143
 1      all Catholics from consuming products on         1     circulates the forms, we can fill them out
 2      Friday."                                         2     and get them back to him and we'll take it
 3                  But that's the wrong -- then I       3     from there to see if the warden -- and she
 4      go on. Then it just -- dietary personnel --      4     say she relinquish those duties to her
 5      which is 6, "Dietary Department personnel        5     assistant warden so someone can see to it
 6      here at Henry Hill Correctional Center           6     that we be accommodated.
 7      refuses to accommodate the necessary             7  Q. Did you file any other grievances --
 8      alternative meals such as fish due to            8  A. Just --
 9      they're left at a disadvantage for Chaplain      9  Q. So this is the --
10      Rojas refuses to supply Dietary Department      10 A. That's the only grievance.
11      with an approved list Lent for Catholic         11            MR. AHMAD: I don't think I have
12      participants," right here on page 5,            12       anything further.
13      paragraph 6 at the top.                         13            MR. ANKNEY: Okay. I have a few
14   Q. Okay. Is this Document No. 1-1, page 21 of      14       things.
15      27?                                             15
16   A. I can't read it upside down.                    16 FURTHER EXAMINATION BY MR. ANKNEY:
17   Q. Is that correct?                                17 Q. I'm going to back to probably the very
18   A. It says 1 of 1, pages 21 of 27. And on the      18     beginning of this deposition because I can't
19      original grievance page 5, paragraph number     19     remember what you specifically said. But I
20      6.                                              20     don't know if you recall, you previously
21   Q. Okay.                                           21     talked about during the discussion about the
22   A. "Refuses to supply Dietary Department with      22     religious diet for Lent, that one of the
23      an approved Lent list for Catholic              23     deacons said that you were exempt. Do you
24      participants."                                  24     recall that?



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 1   Q. Okay. Is there anywhere else that you               1   A. Yes.
 2      believe that the grievance requested that           2   Q. What did you mean by that?
 3      form DOC0388 be provided to you?                    3   A. Well, in my production of documents and
 4   A. Here we go again. Paragraph 12 of the same          4      request for production of documents I think
 5      page, "I was only asking Chaplain Rojas why         5      it was Deacon -- well, not I don't think.
 6      was it he refuses to make out a Catholic            6      It was both. It was Deacon Joe Lahood and
 7      Lent list and why is it that other religious        7      Deacon Robert Rodriguez stated that
 8      groups receive what they're entitled to,            8      Catholics are exempt from receiving non -meat
 9      plus receive celebratory feasts after each          9      religious meals, which I know that's a lie
10      one of their traditional religious periods,        10      because the Illinois Department of
11      but not Catholics. Chaplain Rojas stated           11      Corrections administrative directive state
12      Catholics can have celebratory feasts but          12      that you are to be accommodated if you're
13      it's up to the deacon to address such issue        13      Catholic, and they tell you what you're
14      and not myself."                                   14      supposed to be accommodated with, which is
15                   That's on page 5 and 6, paragraph     15      Exhibit H which is in there.
16      12.                                                16   Q. And I assume they meant while incarcerated
17   Q. So the same page and the following page?           17      that the Catholics are exempt from non -meat?
18   A. Yeah, on 1 of 1, pages 22 of 27 on that one.       18   A. There's no such thing though. Like I said,
19   Q. Okay. Anywhere else?                               19      only one that can exempt such a thing is
20   A. No, that's. . .                                    20      God, and he hasn't done that.
21   Q. That's it?                                         21                 No sitting pope, archbishop,
22   A. That should be enough right there. Showing         22      cardinal, priest, or deacon has the
23      that he's not doing what he's supposed to          23      authority, nor the right, to speak for
24      do. It's a simple procedure if he                  24      another practicing Catholic as how you
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 1        choose to practice your religion. And they        1        cabbage.
 2        know we are all supposed to abstain from all      2                     So he stated I'm going to give a
 3        meat products during Ash Wednesday and all        3        dispensation, so I'm going to let the
 4        Fridays of the year.                              4        Catholics that choose to, it's your choice,
 5   Q.   Okay. I think you said that God has never         5        because you have the freedom of the right to
 6        said that you're exempt from the rule that        6        choose how you choose to practice, if you
 7        you can't eat meat on Fridays during Lent?        7        want to indulge in meat, you can consume
 8   A.   If so, produce the document where it states       8        meat for the St. Patrick holiday if you are
 9        that.                                             9        Irish, but do so in moderation.
10   Q.   I guess how would we know that?                  10                     However, Pope -- not Pope, Bishop
11   A.   Well, you know, the Catholics know that.         11        Paprocki out of Springfield, he oversees 28
12   Q.   Like so the pope could say --                    12        county -- he oversees 28 parishes in central
13   A.   No, the pope can't say it.                       13        Illinois told us regardless of what Cardinal
14   Q.   The pope wouldn't be able to make that --        14        Blase stated in that article you got, do not
15   A.   No, that's why I say -- I just sent that to      15        break your practice and indulge in meat,
16        your office and Mr. Ahmad's office               16        because we are supposed to abstain from
17        yesterday. I filed that yesterday.               17        meat, so don't listen to that.
18   Q.   If the pope said --                              18                     So if you're Irish and you want to
19   A.   The pope can't say.                              19        do so, do so. If you want to have meat,
20   Q.   Why?                                             20        you're gonna be pardoned or forgiven for
21   A.   Because that's their -- that's the freedom       21        that. But those that are not Irish, we
22        of the right to practice how you want to         22        know -- even Irish know we weren't supposed
23        practice. But that's one of the rights that      23        to indulge in that.
24        all Catholics are given that we must follow.     24                     And 28 counties that Paprocki



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 1      We are not supposed to eat that. Now,              1         oversees, that being one of the 28 counties,
 2      like --                                            2         Knox County, which I reside here
 3   Q. Who makes that determination?                      3         incarcerated, I know first and foremost that
 4   A. Listen, you, you make that -- well, that           4         we weren't supposed to follow that, and we
 5      goes back before my time. But anyway, it's         5         didn't.
 6      an article that I submitted along with that        6   Q.    Okay. Since you were returned to the list
 7      grievance that Mr. Ahmad was just speaking         7         to partake in Cursillo, you haven't been
 8      of, and that was a letter that Cardinal            8         removed from that list?
 9      Blase out of Chicago out of the Holy Name          9   A.    Say that again.
10      Cathedral gave a dispensation to all the          10   Q.    Since you were returned to the list to
11      Irish Catholics because it coincide with --       11         participate in Cursillo --
12      it conflict -- I'm not gonna say -- it            12   A.    Oh, no, they won't take me out of there for
13      conflicted with St. Patrick's Day.                13         nothin'.
14                   And from my understanding being      14   Q.    So you've been in Cursillo consistently --
15      Catholic is that the Irish, even though I         15   A.    Yeah, they won't take me outta there for
16      have an Irish name, O'Neal, that they're          16         nothin'. As a matter of fact, they made
17      supposed to consume and -- corn beef and          17         sure I'm one of the ones that attend.
18      cabbage during St. Patrick Day.                   18   Q.    Okay. Rojas is no longer --
19                   Just so happened that year St.       19   A.    No.
20      Patrick's Day fell during the time of Lent.       20   Q.    -- the chaplain at Hill, correct?
21      So he was caught between a rock and a hard        21   A.    Norman Reece is. She's the head chaplain.
22      place saying, well, do we break from              22   Q.    You said between 2005 and 2017 you were
23      abstaining from meat, or do we follow the         23         denied a special dietary for Lent, correct?
24      Irish tradition and have our corned beef and      24   A.    I was denied since being in Hill
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 1      Correctional Center since 2005 up until now.      1  A.          Right. And punitive damages.
 2   Q. Okay. So, for instance, 2005 when Lent was        2  Q.          Sure. How did you come to these numbers for
 3      occurring and you were denied a tray on           3              compensatory damages?
 4      Friday that was specifically meatless, when       4  A.          Throughout the years and all of the
 5      did you realize that your rights were being       5              distress -- well, I won't say distress, but
 6      violated?                                         6              throughout all the years, that's what
 7   A. I done told you, I didn't realize that until      7              brought me to that number.
 8      2016 when I was complaining -- me and a           8  Q.          So it's -- when you say "distress" what do
 9      couple more Catholics was complainin', and        9              you mean by "distress"?
10      it was an older gentleman sayin', "Man,          10 A.           No, I just -- not distress. I'm not
11      that's the problem right there because you       11              focusing on no distress. Throughout all the
12      guys are always talking amongst yourselves       12              years, that's how I came up with that
13      and you're not gettin' nothin' done, and         13              amount.
14      until you put something on paper, nothing is     14 Q.           I don't understand. What do you mean?
15      going to be done about it. That's why you        15 A.           For them not feeding us.
16      haven't been given it."                          16 Q.           Okay.
17                  He said, "Do you know that you       17 A.           You know. That's how I come to the
18      need to be up in the law library because         18              conclusion. That's how I wanted to set the
19      what Chaplain Rojas is doing, he's violatin'     19              bar at.
20      the constitution, because if you go to the       20                          I don't even know why the Catholic
21      law library and pull some cases, you'll see      21              Church is still here, because I tried to
22      he's been discriminatin' against you guys        22              settle with the Catholic Church.
23      for years."                                      23 Q.           How did you come to these numbers for
24                  And I didn't know nothin' about      24              punitive damages?



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 1        it. And when I finally went up there and I            1   A.   Say that again.
 2        got to readin', I'm like, wow, you know,              2   Q. For punitive damages how did you come at the
 3        this is what's been goin' on, you know.               3      number you listed?
 4   Q.   I guess my question was more about religious          4   A. Same reason as I give for compensatory.
 5        rights. So each time you didn't receive a             5   Q. I think you previously said that you talked
 6        meatless meal on Friday, at the time you              6      to Freddie Britton about receiving a vegan
 7        didn't receive it, you realized your                  7      meal, correct?
 8        religious rights were being violated,                 8   A. Yes.
 9        correct?                                              9   Q. He can't approve a special diet tray,
10   A.   Yes.                                                 10      correct?
11   Q.   What damages are you seeking against                 11   A. But see, he could break it. Even though he
12        Stephanie Dorethy in this case?                      12      can't approve it, it's still his department
13   A.   It's in the Complaint. Compensatory and              13      as to should I or shouldn't I, meaning
14        punitive damages in the Complaint. At the            14      should I give him the list (sic), because I
15        end of the Complaint.                                15      do see this on his -- back of his I.D. he is
16   Q.   And what are you seeking compensatory                16      Catholic, should I give this meal to him,
17        damages for?                                         17      you see what I'm sayin'?
18   A.   It's in the Complaint.                               18                  He can break -- even though Rojas
19   Q.   No, I mean -- okay. So in the Complaint it           19      chose not to send him a form, he could go
20        looks like you say page 12 of 13 under               20      off of that right there and give us, because
21        Section B, Compensatory Damages.                     21      there's -- as I stated earlier, there's
22   A.   Yes.                                                 22      kosher meals provided in that Dietary on a
23   Q.   So is that the compensatory damages that             23      daily basis, lactose, and vegan.
24        you're seeking?                                      24                  And at the end of the day there's
                             4:18-cv-04063-SEM-TSH     153 # 109-1 Page 39 of 66                                155
 1      a lot of that stuff that's cooked and they          1      harm as a result of not having your meatless
 2      don't even serve it because some guys that's        2      meals on Friday?
 3      on those lists, no matter what denomination         3  A. No.
 4      they're in, they don't even come because            4             MR. ANKNEY: I think that's all I
 5      they got food in their box, so they don't           5       have.
 6      have to go to the chow hall. So they might          6             MR. AHMAD: I think I might have a
 7      decide to skip their kosher or lactose or           7       couple more questions for you.
 8      vegan or whatever. So there's leftovers,            8
 9      whatnot.                                            9  FURTHER EXAMINATION BY MR. AHMAD:
10                  So it was in his power to lay back     10 Q. From what I understand your concern with
11      and say, "Well, you know what, there is some       11      Rodriguez or Lahood and the Catholic Church
12      food back here; I can give this gentleman a        12      is really their failure to act; is that
13      vegan tray."                                       13      correct?
14   Q. So you wanted Freddie Britton to give you a        14 A. Yes.
15      vegan tray even though you weren't on a list       15 Q. Not -- they were not discriminating against
16      for a vegan tray?                                  16      you because you were Catholic?
17   A. There was no list, right.                          17 A. No, because they're Catholic too. That's
18   Q. Okay.                                              18      why I told them when I was talking with
19   A. Not that I know of, because he said, you           19      Mr. Uphoff or something like that, I told
20      know, until Rojas sends one over, no one's         20      him at the end of the day I too am Catholic,
21      getting anything.                                  21      so maybe we can come to a meeting of the
22   Q. When did you talk to him about -- oh, I            22      minds where we can put this behind us.
23      think you said you talked to him about it in       23      Because I honestly believe, like I say, with
24      2016 during Lent; is that correct?                 24      the Jewish denomination, they see to it that



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 1   A. I talked -- yes.                                     1      their parishioners be fed.
 2   Q. If this case were to go to trial, who would          2                 So I was thinking, you know,
 3      you call as witnesses?                               3      moving forward that should be one of the
 4   A. Well, you already know that because we had a         4      things that the Catholic Church should do,
 5      conference call on that. John Lovell                 5      because I honestly believe if they let the
 6      (phonetic) is one of the witnesses, and I            6      Catholic Church feed the Catholic
 7      have a few more. Because see, there's more           7      parishioners of Henry Hill Correctional
 8      Catholics that are under grievances right            8      Center, they'll do so. But if they don't
 9      now and have -- getting ready to file                9      have the consent to bring us anything in
10      lawsuits pertaining to this same issue, but         10      during that time, we won't -- we'll continue
11      only they've been deprived of meals, not            11      to get nothing.
12      just through Freddie B., but there's                12   Q. Sure. So aside from the Catholic Church
13      another -- which you don't represent them as        13      stepping in and working with the state to
14      of yet.                                             14      provide the meals for you, going back to the
15                  A guy by the name of Steward            15      issue at hand, essentially your claim is
16      (phonetic), he's another one over there that        16      that the Catholic Church failed to intervene
17      turns guys away, you know. So there's quite         17      by --
18      a few guys that will be called that are             18   A. Staying silent.
19      Catholics that submitted affidavits that            19   Q. They stayed silent?
20      haven't been fed too that's gone over there         20   A. Right. Staying silent. And they knew
21      and have been turned down by more than just         21      firsthand of what was going on throughout
22      Freddie Britton.                                    22      all these years and could have -- I think
23   Q. Has any medical professional ever told you          23      they could have done more.
24      that you suffered some sort of injury or            24   Q. Okay. And it wasn't an issue of the
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 1        Catholic Church working with the Department       1     place in tip-tip shape.
 2        of Corrections to deprive you?                    2                  And I only thinking that maybe the
 3   A.   That's what it seemed to me.                      3     Catholic Church should sit down with the
 4   Q.   So it seems to you that it's more of they         4     director to see how they can help better get
 5        stayed silent?                                    5     an understanding as to things, like I said,
 6   A.   That they were working with them because          6     like this -- you know, we don't have to be
 7        they done nothin' to stop it.                     7     going through -- this is -- to be truthful,
 8   Q.   How were they working with them?                  8     this is senseless talking about a fish
 9   A.   Well, like I say, you know, they could --         9     sandwich, but that's where we're at with it.
10        they could have taken this on very easily to     10 Q. Right.
11        speak to Warden Dorethy, and they never told     11 A. Because that's too many people, because
12        Dorethy filing the grievance, hey, our           12     someone should have stopped it.
13        parishioners are constantly telling us that      13 Q. Okay.
14        other religions are being fed, they're given     14 A. Seems like no one cared.
15        feasts, and they're not being honored, why       15             MR. ANKNEY: I've got one real quick.
16        is this, can we put a stop to this.              16
17   Q.   So the problem is they didn't speak up for       17 FURTHER EXAMINATION BY MR. ANKNEY:
18        you?                                             18 Q. Do you know when Lent is in 2020?
19   A.   Right.                                           19 A. Yes. I hate that I didn't bring that
20   Q.   Not they actually went and said, hey,            20     calendar with me too because -- to answer
21        they're Catholics --                             21     your question, you said you haven't got my
22   A.   No, no, they wouldn't do that, because           22     e-file, and neither did you, that I filed
23        they're Catholic too.                            23     yesterday, it got sent out yesterday. And
24   Q.   Okay. Just wanted clarification.                 24     in there is the calendar, because your



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 1                    Is there anything that you feel is        1     client -- no, your client (indicating),
 2        important for us to know and that you will            2     because the two law firms. Your client,
 3        use at trial that we haven't asked you                3     Lahood and Rodriguez, stated in there --
 4        about?                                                4     because I wanted to know didn't you ever
 5   A.   All I said, other than -- other than --               5     have a conversation with Rojas as to
 6        other than -- like I said, I guess moving             6     advocating for the Catholic parishioners.
 7        forward -- because see, we have a new                 7     And they said we don't advocate on behalf of
 8        director too now that they got rid of that            8     the Catholic parishioners because you're
 9        Baldwin, right? And he's a more of a                  9     exempt.
10        reformed individual. I was reading up about          10                 So I asked them another question ,
11        him, how he -- he was personally sent here           11     which, like I say, you haven't answered
12        from Washington to clean up the Illinois             12     those interrogatories either. I stated in
13        Department of Corrections. And he's had              13     there, I said, "Well, at any time have you
14        some success in the prison systems in Ohio.          14     ever spoken to Rojas personally for us being
15                    And since he's been director in          15     provided a Lent meal?"
16        this last probably last two months or month          16                 And he gave us that at least. He
17        and a half or so, you see this place                 17     said, "Yes, I spoke to Chaplain Rojas about
18        starting to change more because you're not           18     you guys' Lent meal."
19        locked up all day. He's putting it to where          19                 So I'm which one is it, you
20        you can get into school, start letting the           20     advocated for us or you don't, because you
21        guys get their good time. You know, it's             21     just stated in one of the interrogatories
22        all about, you know, getting back on track,          22     you don't advocate for us, but in another
23        doing the right thing. So I think he's               23     you stated, yes, I sat down and I spoke to
24        doing the right thing as far as getting this         24     Rojas about your Lent meal.
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 1               You see what I'm saying?               1           you.
 2               So back to the question that you       2  Q.       Well, I was asking you if you knew when
 3   were stating in that calendar, because they        3           Easter was next year, because I wanted to
 4   say -- so I say, well, okay, how is the            4           know if you had submitted a request --
 5   prison put on notice what they're supposed         5  A.       You keep saying -- we don't submit requests.
 6   to do when Lent comes? This is coming from         6           We can't do that.
 7   the Catholic standpoint because I know how         7  Q.       Okay.
 8   the Illinois Department of Corrections deals       8  A.       The requests must be sent to us, because
 9   with that, because it's in the                     9           they have a list of who's all Catholic.
10   administrative directives. They know what         10 Q.        Okay.
11   we get, how much we're supposed to get, and       11 A.        So if they don't know of you being Catholic,
12   when we're supposed to get it.                    12           you not gonna receive a form, a request
13               But I wanted to find out from the     13           slip. You don't write Chaplain Rojas or the
14   Catholic Church how do you advise the prison      14           new Chaplain Reece and state, "Well, hey, I
15   when Lent is coming, or do you advise the         15           want to be on this."
16   prison when Lent is coming. They said, no,        16                      They send that to you if they
17   the only thing that we do with Catholic           17           choose to send it to you.
18   prisons pertaining to the Catholic inmates        18 Q.        Okay.
19   is I consult with Chaplain Rojas through          19 A.        That haven't come yet, so I don't know if
20   e-mails and my yearly calendar.                   20           Norman Reece is going to circulate them in
21               So you're the one that brought        21           2020, because that hasn't come yet.
22   that up out your mouth. So I said I want to       22 Q.        I see. So you believe that the chaplains
23   see your calendar, you see what I'm sayin'?       23           are supposed to, without you asking for one,
24   And your clients refused to turn over             24           send you a religious diet form for Lent?



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 1   through the production of documents the               1   A.   Yeah, administrative directives explain
 2   yearly calendar.                                      2        that.
 3               Well, I was just cleaning out my          3               MR. ANKNEY: Okay. All right. I
 4   box within the last week, and when I went             4         don't have anything else.
 5   through there, I couldn't believe what I              5               MR. AHMAD: Nothing further.
 6   found, and that's what you're getting ready           6
 7   to see because you say you haven't seen it            7             FURTHER DEPONENT SAITH NOT.
 8   already, I got the yearly calendar.                   8                   SIGNATURE WAIVED.
 9               So I say, well, okay, this is what        9
10   the attorneys don't want the U.S. District           10
11   Court to see. Well, I have a copy of the             11
12   yearly calendar. And it goes back to your            12
13   question which brought me to this. When              13
14   it's Easter, it states from that yearly              14
15   calendar from 2019, it's called a Festival           15
16   Letter 2019. And it goes for everything              16
17   that Catholics celebrate, when we celebrate          17
18   it, what we're celebrating for every month           18
19   of that year, and it goes into 2020. And it          19
20   also goes into Easter where you were just            20
21   saying.                                              21
22               So you have a copy of that when          22
23   you get back to your office, because I               23
24   e-mailed that to you. I e-filed that to              24
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 1   STATE OF ILLINOIS   )
                         )
 2   COUNTY OF KNOX      )
 3
 4                 C E R T I F I C A T E
 5      I, Amy S. Powers, CSR, RPR, a Notary Public
 6   duly commissioned and qualified in the State of
 7   Illinois, DO HEREBY CERTIFY that pursuant to
 8   notice there came before me on the 21st day of
 9   November 2019, at Henry Hill Correctional Center,
10   in the City of Galesburg, County of Knox, and
11   State of Illinois, the following named person, to
12   wit:
13
14                       AARON O'NEAL,
15
16   who was by me first duly sworn to testify to the
17   truth and nothing but the truth of his knowledge
18   touching and concerning the matters in
19   controversy in this cause and that he was
20   thereupon carefully examined upon his oath and
21   his examination immediately reduced to shorthand
22   by means of stenotype by me.
23       I ALSO CERTIFY that the deposition is a true
24   record of the testimony given by the witness and




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 1   that the necessity of calling the court reporter
 2   at time of trial for the purpose of
 3   authenticating said transcript was also waived.
 4       I FURTHER CERTIFY THAT I am neither attorney
 5   or counsel for, nor related to or employed by,
 6   any of the parties to the action in which this
 7   deposition is taken, and further, that I am not a
 8   relative or employee of any attorney or counsel
 9   employed by the parties hereto, or financially
10   interested in the action.
11       IN WITNESS WHEREOF, I have hereunto set my
12   hand and affixed my notarial seal at Galesburg,
13   Illinois, this 1st day of December 2019.
14
15
                              ______________________
16                            AMY S. POWERS
                              Certified Shorthand
17                            Reporter
18
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